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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


  ADRIANA JEZ, derivatively on behalf of XPO
  LOGISTICS, INC.,


                                                      C.A. No. ________________
         Plaintiff,

         vs.

  BRADLEY S. JACOBS, JOHN J. HARDIG,
  GENE L. ASHE, MICHAEL G. JESSELSON,                 DEMAND FOR JURY TRIAL
  ADRIAN P. KINGSHOTT, JASON D.
  PAPASTAVROU, OREN G. SHAFFER, and
  LOUIS DEJOY,

         Defendants,


         and


  XPO LOGISTICS, INC.,


         Nominal Defendant.




                VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT
                                       INTRODUCTION

       Plaintiff Adriana Jez (“Plaintiff”), by her undersigned attorneys, derivatively and on behalf

of Nominal Defendant XPO Logistics, Inc. (“XPO” or the “Company”), files this Verified

Shareholder Derivative Complaint against Individual Defendants Bradley S. Jacobs, John J.

Hardig, Gene L. Ashe, Michael G. Jesselson, Adrian P. Kingshott, Jason D. Papastavrou, Oren G.

Shaffer, and Louis DeJoy (collectively, the “Individual Defendants,” and together with XPO, the

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“Defendants”) for breaches of their fiduciary duties as directors and/or officers of XPO, unjust

enrichment, waste of corporate assets, and violation of Section 14(a) of the Securities Exchange

Act of 1934 (the “Exchange Act”). As for Plaintiff’s complaint against the Individual Defendants,

she alleges the following based upon personal knowledge as to her and her own acts, and

information and belief as to all other matters, based upon, inter alia, the investigation conducted

by and through her attorneys, which included, among other things, a review of the Defendants’

public documents, conference calls, and announcements made by Defendants, United States

Securities and Exchange Commission (“SEC”) filings, wire and press releases published by and

regarding XPO, legal filings, news reports, securities analysts’ reports and advisories about the

Company, and information readily obtainable on the Internet. Plaintiff believes that substantial

evidentiary support will exist for the allegations set forth herein after a reasonable opportunity for

discovery.

                                  NATURE OF THE ACTION

       1.      This is a shareholder derivative action that seeks to remedy wrongdoing committed

by XPO’s directors and officers from at least February 26, 2014 through the present (the “Relevant

Period”).

       2.      XPO purports to be a top ten global provider of transportation and logistics services

that provides “cutting-edge supply chain solutions to the most successful companies in the world.”

XPO operates globally through a network of people, technology, and physical assets. The

Company has two reportable segments, Transportation and Logistics. Most of the Company’s

revenue is derived from its Transportation segment, which accounted for 65% of the Company’s

overall revenue in 2018. The Company touts itself as being “asset-light, with the revenue generated




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by activities directly associated with our owned assets accounting for less than a third of our

revenue in 2018.”

          3.       Prior to 2011, the Company was known as Express-1 Expedited Solutions, Inc. and

functioned as a non-asset based premium transportation organization. In September 2011, the

Company was purchased by Bradley S. Jacobs (“Defendant Jacobs”) for over $150 million through

an acquisition led by Defendant Jacobs’ investment company, Jacobs Private Equity, LLC (“JPE”),

and renamed XPO Logistics, Inc. Through the acquisition, JPE took 71% ownership of the

Company and Defendant Jacobs became XPO’s Chief Executive Officer (“CEO”), controlling

shareholder, and Chairman of XPO’s Board of Directors (the “Board”). Before XPO, Defendant

Jacobs held a variety of high-level positions in a number of companies, including United Waste

Systems, Inc. (“UWS”), which he founded in 1989 and United Rentals, Inc. (“URI”), which he co-

founded in 1997. Both companies have been under fire in recent years for their involvement in

accounting fraud.

          4.       Upon taking control of the Company, Defendant Jacobs proceeded to engage in an

aggressive mergers and acquisition growth strategy (the “M&A Strategy”), swiftly acquiring 17

companies over the next few years and deploying over $6 billion of capital. As a result, XPO grew

exponentially “from $177 million in sales in 2011 to $17 billion” by June 2018.1 In August 2017,

Defendant Jacobs maintained that the Company was ready to spend another $8 billion for

additional acquisitions.

          5.       Throughout the Relevant Period, XPO touted the M&A Strategy and the

Company’s accompanying fast-paced growth through its publicly issued financial statements.

However, simultaneously, the Company’s financial statements contained irregularities that



1
    http://fortune.com/future-50/xpo-logistics/. Last visited May 1, 2019.

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conveniently disguised the Company’s true financial state. Moreover, as the Individual Defendants

continued to tout and promote XPO’s growth and seeming success as a rising technology company,

XPO would soon be exposed to claims of workplace misconduct and labor law violations—

including, inter alia, through pregnancy discrimination and misclassifying employees as

independent contractors. As XPO exponentially grew under Defendant Jacobs’ lead, the Individual

Defendants were engaging in and/or causing the Company to engage in certain improper

accounting practices that placed Company in a better light than it actually was. These practices

included underreporting bad debts, reporting phantom income through unexplained “Acquisition

earn-out liabilities” and assuming aggressive amortization in order to make the Company appear

more successful than it was and to further disguise increasing financial strain and the lack of

internal controls over its business operations, reporting, and performance.

       6.      On December 12, 2018, Spruce Point Capital Management LLC released a

“scathing appraisal”2 of XPO in an investment research report titled “Trucking Ridiculous; End of

the Road” (the “Spruce Report”). The Spruce Report maintained that a “forensic investigation”

into XPO uncovered numerous financial irregularities “that conveniently cover its growing

financial strain and inability to complete additional acquisitions despite repeated promises.” The

Spruce Report also pointed out that while the Company had deployed over $6 billion of capital in

connection with the M&A Strategy, it had only generated $73 million of cumulative adjusted free

cash flow, “a paltry 1.2% return on invested capital.”3 Yet, the Spruce Report asserted that it had

“concrete evidence to suggest” that, through “dubious tax accounting, under-reporting of bad

debts, phantom income through unaccountable M&A earnout liabilities, and aggressive



2
  https://seekingalpha.com/news/3416823-spruce-point-capital-hammers-xpo-logistics. Last visited May
1, 2019.
3
  https://www.sprucepointcap.com/xpo-logistics-inc/. Last visited May 1, 2019.

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amortization assumptions,” XPO was able to “portray glowing Non-GAAP results[,]” promote

itself, and distract the investing public from the Company’s growing debt and failures to hit cash

flow targets. The Spruce Report stated that it believed XPO was “executing an identical playbook

to URI,” which resulted in SEC investigation, executive felony convictions, and share price

collapse when it was charged with engaging in fraudulent transactions to meet company earnings

forecasts and analyst expectations in 2008.4 Furthermore, the Spruce Report reported that “XPO

insiders have aggressively reduced their ownership interest in the Company since coming public,

and recently enacted a new compensation structure tied to ‘Adjusted Cash Flow Per Share’—

defined in such a non-standard way that it is practically meaningless.”

          7.      The Spruce Report also pointed out claims made by XPO employees about

Defendant Jacobs and the Company’s workplace practices through different unions

representatives. Specifically, the Spruce Report contained numerous quotes by XPO workers

claiming that the Company had engaged in repeated labor law violations, and that Defendant

Jacobs had unjustly enriched himself through stock-bonus plans while workers were denied

affordable health care. The Spruce Report also noted in its assessment of the Company, that XPO

was “under investigation from the US Senate related to safety conditions for its workers,” and that,

furthermore, the Company’s highly adjusted earnings per share was overstated and a result of “a

combination of aggressive accounting, unsustainable pension gains, and poor practices that

underpay workers and appear to cut corners on worker safety.” In addition, the Spruce Report

pointed out that XPO had experienced stoppages and pressure from the Teamsters Union, which

added to the Spruce Report’s negative assessment of XPO’s future earnings potential.




4
    https://www.sec.gov/news/press/2008/2008-190.htm. Last visited May 1, 2019.

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       8.      On this news, the price per share of XPO stock fell $15.77, over 26%, from a closing

price of $60.27 per share on December 12, 2018, to close at $44.50 on December 13, 2018.

       9.      During the Relevant Period, the Individual Defendants breached their fiduciary

duties by personally making and/or causing the Company to make to the investing public a series

of materially false and misleading statements regarding the Company’s business, operations, and

prospects. Specifically, the Individual Defendants willfully or recklessly made and/or caused the

Company to make false and misleading statements to the investing public that failed to disclose,

inter alia, that: (1) the Company’s widely promoted M&A Strategy generated nominal returns to

XPO; (2) the Company’s financial statements were prepared with improper accounting methods

employed to disguise the true state of the Company’s financial condition, such as under-reporting

bad debts and aggressive amortization assumptions; and (3) the Company failed to maintain

internal controls. As a result of the foregoing, the Company’s public statements were materially

false and misleading at all relevant times.

       10.     The Individual Defendants also breached their fiduciary duties by failing to correct

and causing the Company to fail to correct these false and misleading statements and omissions of

material fact to the investing public.

       11.     Additionally, in breach of their fiduciary duties, the Individual Defendants caused

the Company to fail to maintain internal controls and permitted the Company to engage in labor

violations and employee mistreatment, which included exposing workers to unsafe conditions by

requiring long working hours and limited breaks in non-conditioned warehouses leading to

dehydration, and even death on one occasion, misclassifying drivers as independent contractors

instead of employees, and allowing sexual harassment and pregnancy discrimination at Company-

operated warehouses (the “Workplace Misconduct”). The Company is subject to numerous



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lawsuits and administrative proceedings that claim, inter alia, that the Company misclassified

employees as independent contractors, failed to fully compensate Company drivers or failed to

provide meal and rest periods.

       12.      In light of the Individual Defendants’ misconduct, which has subjected XPO, its

CEO, and its former CFO to being named as defendants in a federal securities fraud class action

lawsuit pending in the United States District Court for the District of Connecticut (the “Securities

Class Action”), and subject XPO to various lawsuits based on the Workplace Misconduct, the need

to undertake internal investigations, the need to implement adequate internal controls over its

financial reporting, the losses from the waste of corporate assets, the losses due to the unjust

enrichment of the Individual Defendants who were improperly over-compensated by the Company

and who benefitted from the wrongdoing alleged herein, the Company will have to expend many

millions of dollars.

       13.      In light of the breaches of fiduciary duty engaged in by the Individual Defendants,

most of whom are the Company’s current directors, their collective engagement in fraud, the

substantial likelihood of the directors’ liability in this derivative action and the Company’s CEO’s

and former CFO’s liability in the Securities Class Action, their being beholden to each other, their

longstanding business and personal relationships with each other, and their not being disinterested

or independent directors, a majority of the Board cannot consider a demand to commence litigation

against themselves on behalf of the Company with the requisite level of disinterestedness and

independence.




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                                 JURISDICTION AND VENUE

       14.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiff’s claims raise a federal question under Section 14(a) of the Exchange Act, 15 U.S.C. §

78n(a)(1) and Rule 14a-9 of the Exchange Act, 17 C.F.R. § 240.14a-9.

       15.     Plaintiff’s claims also raise a federal question pertaining to the claims made in the

Securities Class Action based on violations of the Exchange Act.

       16.     This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. § 1367(a).

       17.     This derivative action is not a collusive action to confer jurisdiction on a court of

the United States that it would not otherwise have.

       18.     The Court has personal jurisdiction over each of the Defendants because each

Defendant is either a corporation incorporated in this District, or he or she is an individual who

has minimum contacts with this District to justify the exercise of jurisdiction over them.

       19.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1401 because a

substantial portion of the transactions and wrongs complained of herein occurred in this District,

and the Defendants have received substantial compensation in this District by engaging in

numerous activities that had an effect in this District.

       20.     Venue is proper in this District because XPO and the Individual Defendants have

conducted business in this District, and Defendants’ actions have had an effect in this District.

                                             PARTIES

       Plaintiff

       21.     Plaintiff is a current shareholder of XPO common stock and has continuously held

XPO common stock at all relevant times.

       Nominal Defendant XPO
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       22.     XPO is a Delaware corporation with its principal executive offices at Five

American Lane, Greenwich, CT, 06831. XPO’s shares trade on the New York Stock Exchange

(“NYSE”) under the ticker symbol “XPO.”

       Defendant Jacobs

       23.     Defendant Jacobs has served as the Company’s CEO and as Chairman of the Board

since September 2011 when he acquired the Company through JPE, the Company’s largest

stockholder. He is also the managing member of JPE and therefore a controlling shareholder of

the Company. According to the Company’s Schedule 14A filed with the SEC on April 22, 2019

(the “2019 Proxy Statement”), as of April 12, 2019, Defendant Jacobs beneficially owned 19,799,

601 shares of the Company’s common stock, which represented 17.7% of the Company’s

outstanding shares of common stock on that date and 94.9% of the Company’s Series A Preferred

Stock.5 Given that the price per share of the Company’s common stock at the close of trading on

April 12, 2019 was $63.19, Defendant Jacobs owned over $1.2 billion worth of XPO stock.

According to the Company’s Annual Report filed on February 14, 2019 on a Form 10-K with the

SEC for the fiscal year ended December 31, 2018 (the “2018 10-K”), Defendant Jacobs “controls

a large portion of [Company] stock and has substantial control over [the Company], which could

limit other stockholders’ ability to influence the outcome of key transactions, including changes

of control.” The 2018 10-K further outlined in relevant part:

       Under applicable SEC rules, our Chairman and Chief Executive Officer, Mr. Bradley S.
       Jacobs, beneficially owns approximately 15% of our outstanding common stock as of
       December 31, 2018. This concentration of share ownership may adversely affect the
       trading price for our common stock because investors may perceive disadvantages in
       owning stock in companies with concentrated stockholders. Our preferred stock votes
       together with our common stock on an “as-converted” basis on all matters, except as
       otherwise required by law, and separately as a class with respect to certain matters
       implicating the rights of holders of shares of the preferred stock. Accordingly, Mr. Jacobs
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 These shares included the shares owned indirectly by Defendant Jacobs as the managing member of JPE
and 263,887 shares of common stock held directly by Defendant Jacobs.

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          can exert substantial influence over our management and affairs and matters
          requiring stockholder approval, including the election of directors and the approval
          of significant corporate transactions, such as mergers, consolidations or the sale of
          substantially all of our assets. Consequently, this concentration of ownership may
          have the effect of delaying or preventing a change of control, including a merger,
          consolidation, or other business combination involving us, or discouraging a potential
          acquirer from making a tender offer or otherwise attempting to obtain control, even
          if that change of control would benefit our other stockholders. Additionally, significant
          fluctuations in the levels of ownership of our largest stockholders, including shares
          beneficially owned by Mr. Jacobs, could impact the volume of trading, liquidity and market
          price of our common stock.

(Emphasis added.)

          24.     For the fiscal year ended December 31, 2018, Defendant Jacobs received

$13,327,471 in compensation from the Company. This included $625,000 in salary, $12,690,463

in stock awards, and $12,008 in all other compensation.

          25.     The Company’s 2019 Proxy Statement stated the following about Defendant

Jacobs:

          Mr. Jacobs has served as our chief executive officer and chairman of our Board of
          Directors since September 2, 2011. Mr. Jacobs is also the managing member of
          JPE, which is our second largest stockholder. Prior to XPO, he led two public
          companies: United Rentals, Inc. (NYSE: URI), which he founded in 1997, and
          United Waste Systems, Inc., which he founded in 1989. Mr. Jacobs served as
          chairman and chief executive officer of United Rentals for that company's first six
          years, and as its executive chairman for an additional four years. He served eight
          years as chairman and chief executive officer of United Waste Systems.
          Board Committees:6 None
          Other Public Company Boards: None

          Mr. Jacobs brings to the Board:
          ■ In-depth knowledge of the company's business resulting from his years of service
          with the company as its chief executive officer;
          ■ Leadership experience as the company's chairman and chief executive officer,
          and a successful track record of leading companies that execute strategies similar
          to ours; and


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    Emphasis in original unless otherwise noted in this Complaint.

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       ■ Extensive past experience as the chairman of the board of directors of several
       public companies.
       Defendant Hardig

       26.      Defendant John J. Hardig (“Hardig”) served as XPO’s CFO from February 2012

until he stepped down from his position in August 2018. According to the 2019 Proxy Statement,

as of February 21,2018, Defendant Hardig beneficially owned 115,598 shares of the Company’s

common stock. Given that the price per share of the Company’s common stock at the close of

trading on February 21, 2018 was $93.99, Defendant Hardig owned approximately $10.8 million

worth of XPO stock.

       27.      For the fiscal year ended December 31, 2018, Defendant Hardig received $359,688

in compensation from the Company. This included $324,846 in salary and $34,842 in all other

compensation.

       Defendant Ashe

       28.      Defendant Gene L. Ashe (“Ashe”) has served as a Company director since March

2016 and also serves as a member of the Audit Committee and the Acquisition Committee.

Defendant Ashe has also served as vice-chairman of XPO Logistics Europe S.A., a majority owned

subsidiary of the Company. According to the 2019 Proxy Statement, as of April 12, 2019,

Defendant Ashe beneficially owned 8,757 shares of the Company’s common stock. Given that the

price per share of the Company’s common stock at the close of trading on April 12, 2019 was

$63.19, Defendant Ashe owned approximately $553,354 worth of XPO stock.

       29.      For the fiscal year ended December 31, 2018, Defendant Ashe received $272,192

in compensation from the Company. This included $80,645 in fees earned or cash paid and

$191,546 in stock awards. Defendant Ashe also received €65,000 in fees for her service as vice-

chairman of the Supervisory Board of XPO Logistics, S.A.


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      30.    The Company’s 2018 Proxy Statement stated the following about Defendant Ashe:

      Ms. Ashe has served as a director of the company since March 21, 2016. Ms. Ashe
      has served as the president and chief executive officer of GLA Legal Advisory
      Group, LLC since February 2018. Also, Ms. Ashe has served as vice-chairman of
      the Supervisory Board of XPO Logistics Europe S.A., our majority-owned
      subsidiary, since February 2017. She was senior vice president, chief legal officer
      and corporate secretary of Adtalem Global Education Inc. (NYSE: ATGE) from
      May 2017 to February 2018, and executive vice president, chief legal officer, and
      corporate secretary of BrightView Landscapes, LLC (formerly The Brickman
      Group, Ltd. LLC) from December 2012 to June 2016. Earlier, she served as senior
      vice president of legal affairs for Catalina Marketing Corporation and held senior
      legal roles with the Public Broadcasting Service ("PBS"), Darden Restaurants, Inc.,
      Lucent Technologies and AT&T. Earlier in her career, Ms. Ashe served as an
      electrical engineer and scientist for IBM Corporation before joining IBM's legal
      team. Ms. Ashe holds a juris doctorate degree from Georgetown University Law
      Center, where she serves on the Georgetown Law Advisory Board, a master's
      degree in electrical engineering from Georgia Institute of Technology and a
      bachelor's degree in mathematics from Spelman College, where she sits on the
      Board of Trustees. She has completed the executive development program at the
      Wharton School of the University of Pennsylvania and holds a certificate in
      international management from Oxford University in England.
      Board Committees:
      ■ Member of Audit Committee
      ■ Member of Acquisition Committee

      Other Public Company Boards: None

      Ms. Ashe brings to the Board:

      ■ More than two decades of valuable legal experience with public and private
      companies, which enables her to provide guidance to the Board and company
      management on legal matters, compliance and risk assessment and corporate
      governance best practices; and

      ■ An in-depth understanding of the dynamics of three of our most important
      customer verticals: e-commerce, technology and food and beverage.

      Defendant Jesselson

      31.    Defendant Michael G. Jesselson (“Jesselson”) has served as a Company director

since September 2011 and as lead independent director since March 2016. He also serves as a


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member of the Audit Committee, Compensation Committee, and Nominating and Corporate

Governance Committee. According to the 2019 Proxy Statement, as of April 12, 2019, Defendant

Jesselson beneficially owned 347,764 shares of the Company’s common stock. Given that the

price per share of the Company’s common stock at the close of trading on April 12, 2019 was

$63.19, Defendant Jesselson owned approximately $21.9 million worth of XPO stock.

       32.      For the fiscal year ended December 31, 2018, Defendant Jesselson received

$291,546 in compensation from the Company. This included $100,000 in salary and $191,546 in

stock awards.

       33.      The Company’s 2019 Proxy Statement stated the following about Defendant

Jesselson:

       Mr. Jesselson has served as director of the company since September 2, 2011, and
       as lead independent director since March 20, 2016. He has been president and chief
       executive officer of Jesselson Capital Corporation since 1994. Mr. Jesselson served
       as a director of American Eagle Outfitters, Inc. (NYSE: AEO) from November
       1997 to May 2017, most recently as its lead independent director. Prior to that, he
       worked at Philipp Brothers, a division of Engelhard Industries from 1972 to 1981,
       then at Salomon Brothers Inc. in the financial trading sector. He is a director of C-
       III Capital Partners LLC, Clarity Capital and other private companies, as well as
       numerous philanthropic organizations. Mr. Jesselson also serves as the chairman of
       Bar Ilan University in Israel. He attended New York University School of
       Engineering.
       Board Committees:
       ■ Member of Audit Committee
       ■ Member of Compensation Committee
       ■ Member of Nominating and Corporate Governance Committee
       Other Public Company Boards: None
       Mr. Jesselson brings to the Board:

       ■ Significant experience with public company corporate governance issues through
       prior service on the board of directors of American Eagle Outfitters, including as
       its lead independent director; and



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       ■ Extensive investment expertise.
       Defendant Kingshott

       34.      Defendant Adrian P. Kingshott (“Kingshott”) has served as a Company director

since September 2011. He also serves as Chairman of the Compensation Committee and as a

member of the Acquisition Committee. According to the 2019 Proxy Statement, as of April 12,

2019, Defendant Kingshott beneficially owned 134,013 shares of the Company’s common stock.

Given that the price per share of the Company’s common stock at the close of trading on April 12,

2019 was $63.19, Defendant Kingshott owned approximately $8.4 million worth of XPO stock.

       35.      For the fiscal year ended December 31, 2018, Defendant Kingshott received

$281,546 in compensation from the Company. This included $90,000 in salary and $191,546 in

stock awards.

       36.      The Company’s 2019 Proxy Statement stated the following about Defendant

Kingshott:

       Mr. Kingshott has served as a director of the company since September 2, 2011. He
       has served as the chief executive officer of AdSon, LLC since October 2005,
       managing director of Spotlight Advisors, LLC since September 2015 and a member
       of the board of directors of Centre Lane Investment Corp. since May 2011.
       Mr. Kingshott was a senior advisor to Headwaters Merchant Bank from 2013 until
       June 2018. Previously, with Goldman Sachs, he was co-head of the firm's Global
       Leveraged Finance business and held other positions over a 17-year tenure. More
       recently, Mr. Kingshott was a managing director and portfolio manager at
       Amaranth Advisors, LLC. He is an adjunct professor of Global Capital Markets
       and Investments at Fordham University's Gabelli School of Business. He holds a
       master's degree in business administration from Harvard Business School and a
       master of jurisprudence degree from Oxford University.
       Board Committees:
       ■Chairman of Compensation Committee

       ■Member of Acquisition Committee

       Other Public Company Boards: None


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       Mr. Kingshott brings to the Board:

       ■ More than 25 years of experience in the investment banking and investment
       management industries; and

       ■ Expertise with respect to corporate governance, acquisition transactions, debt and
       equity financing and corporate financial management issues

       Defendant Papastavrou

       37.      Defendant Jason D. Papastavrou (“Papastavrou”) has served as a Company director

since September 2011. He also serves as a member of the Audit Committee, Compensation

Committee, Acquisition Committee, and the Nominating and Corporate Governance Committee.

According to the 2019 Proxy Statement, as of April 12, 2019, Defendant Papastavrou beneficially

owned 242,888 shares of the Company’s common stock. Given that the price per share of the

Company’s common stock at the close of trading on April 12, 2019 was $63.19, Defendant

Papastavrou owned approximately $15.3 million worth of XPO stock.

       38.      For the fiscal year ended December 31, 2018, Defendant Papastavrou received

$281,546 in compensation from the Company. This included $90,000 in salary and $191,546 in

stock awards.

       39.      The Company’s 2019 Proxy Statement stated the following about Defendant

Papastavrou:

       Dr. Papastavrou has served as a director of the company since September 2, 2011.
       He founded ARIS Capital Management, LLC in 2004 and serves as its chief
       investment officer. Previously, Dr. Papastavrou was the founder and managing
       director of the Fund of Hedge Funds Strategies Group of Banc of America Capital
       Management (BACAP), president of BACAP Alternative Advisors, and a senior
       portfolio manager with Deutsche Asset Management. He was a tenured professor
       at Purdue University School of Industrial Engineering and holds a doctorate in
       electrical engineering and computer science from the Massachusetts Institute of
       Technology. Dr. Papastavrou serves on the board of directors of United
       Rentals, Inc. (NYSE: URI).
       Board Committees:

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       ■ Chairman of Acquisition Committee
       ■ Member of Audit Committee
       ■ Member of Compensation Committee
       ■ Member of Nominating and Corporate Governance Committee
       Other Public Company Boards: United Rentals, Inc. (since 2005)
       Dr. Papastavrou brings to the Board:
       ■ Financial expertise related to his qualifications as an "audit committee financial
       expert" under SEC regulations; and
       ■ Extensive experience with finance and risk-related matters, from holding senior
       positions at investment management firms.
       Defendant Shaffer

       40.    Defendant Oren G. Shaffer (“Shaffer”) has served as a Company director since

September 2011. He also serves as Chairman of the Audit Committee. Defendant Shaffer has

additionally served as a director for Terex Corporation since 2007. According to the 2019 Proxy

Statement, as of April 12, 2019, Defendant Shaffer beneficially owned 66,799 shares of the

Company’s common stock. Given that the price per share of the Company’s common stock at the

close of trading on April 12, 2019 was $63.19, Defendant Shaffer owned approximately $4.2

million worth of XPO stock.

       41.    For the fiscal year ended December 31, 2018, Defendant Shaffer received $291,546

in compensation from the Company. This included $100,000 in salary and $191, 546 in stock

awards.

       42.    The Company’s 2019 Proxy Statement stated the following about Defendant

Shaffer:

       Mr. Shaffer has served as a director of the company since September 2, 2011. From
       2002 to 2007, Mr. Shaffer was vice chairman and chief financial officer of Qwest
       Communications International, Inc. (now CenturyLink, Inc.). Previously,
       Mr. Shaffer was president and chief operating officer of Sorrento Networks, Inc.,
       executive vice president and chief financial officer of Ameritech Corporation, and

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       held senior executive positions with The Goodyear Tire & Rubber Company, where
       he also served on the board of directors. Additionally, Mr. Shaffer is a director on
       the board of Terex Corporation (NYSE: TEX). He holds a master's degree in
       management from the Sloan School of Management, Massachusetts Institute of
       Technology, and a degree in finance and business administration from the
       University of California, Berkeley.
       Board Committees:
       ■ Chairman of Audit Committee
       Other Public Company Boards: Terex Corporation (since 2007)

       Mr. Shaffer brings to the Board:
       ■ Senior financial, operational and strategic experience with various large
       companies;

       ■ Corporate governance expertise from serving as director of various public
       companies; and

       ■ Financial expertise related to his qualifications as an "audit committee financial
       expert" under SEC regulations.

       Defendant DeJoy

       43.    Defendant Louis DeJoy (“DeJoy”) served as a Company director from December

2015 until May 2018. While with the Company, he served as a member of the Acquisition

Committee. He also served as the CEO of the Company’s supply chain business in the Americas

until December 2015 and was chairman and CEO of New Breed Logistics, which the Company

acquired in 2014. According to the Company’s Schedule 14A filed with the SEC on April 18,

2018, (the “2018 Proxy Statement”), as of April 6, 2018, Defendant DeJoy beneficially owned

1,134,686 shares of the Company’s common stock. Given that the price per share of the

Company’s common stock at the close of trading on April 6, 2018 was $96.23, Defendant DeJoy

owned approximately $109.1 million worth of XPO stock.

       44.    For the fiscal year ended December 31, 2017, Defendant DeJoy received $248,489

in compensation from the Company. This included $75,00 in fees earned or cash paid and $173,489

in stock awards.

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       45.     In addition, the Company leases office space from three entities partially owned

and controlled by Defendant DeJoy. For the year ended December 31, 2018, the Company made

aggregate rent payments of $1.86 million on these lease agreements.

       46.     The Company’s Schedule 14A filed with the SEC on April 17, 2017 (the “2017

Proxy Statement”) stated the following about Defendant DeJoy:

       Mr. DeJoy has served as a director of the company since December 3, 2015. He
       was most recently chief executive officer of the XPO Logistics supply chain
       business in the Americas (retired as of December 7, 2015). Previously, he led New
       Breed Logistics as its chairman and chief executive officer from 1983 until XPO
       Logistics acquired New Breed in 2014. During that time, he grew the company
       from a small, regional operation to a leading U.S. provider of highly engineered,
       technology-driven contract logistics solutions. Mr. DeJoy is a member of the boards
       of trustees of Elon University and the PGA Wyndham Championship, and serves
       on the board of directors for The Fund for American Studies in Washington, DC.
       He is a past member of the board of trustees of Moses Cone Health System in North
       Carolina, and was an appointee to the President’s Commission on White House
       Fellowships. He holds a business degree from Stetson University.
       Board Committees:
       • Member of Acquisition Committee
       Other Public Company Boards: None
       Mr. DeJoy brings to the Board:
       • Significant expertise in supply chain operations that allows him to provide
       valuable guidance to our Board on strategic and operational matters with respect to
       our logistics business unit.


               FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS

       47.     By reason of their positions as officers and/or directors of XPO and because of

their ability to control the business and corporate affairs of XPO, the Individual Defendants owed

XPO and its shareholders fiduciary obligations of trust, loyalty, good faith, and due care, and were

and are required to use their utmost ability to control and manage XPO in a fair, just, honest, and




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equitable manner. The Individual Defendants were and are required to act in furtherance of the

best interests of XPO and its shareholders so as to benefit all shareholders equally.

        48.     Each director, officer, and controller of the Company owes to XPO and its

shareholders the fiduciary duty to exercise good faith and diligence in the administration of the

Company and in the use and preservation of its property and assets and the highest obligations of

fair dealing.

        49.     The Individual Defendants, because of their positions of control and authority as

directors, officers, and/or controllers of XPO, were able to and did, directly or indirectly, exercise

control over the wrongful acts complained of herein.

        50.     To discharge their duties, the officers, directors, and controllers of XPO were

required to exercise reasonable and prudent supervision over the management, policies, controls,

and operations of the Company.

        51.     Each Individual Defendant, by virtue of his or her position as a director, officer,

and/or controlling shareholder, owed to the Company and to its shareholders the highest fiduciary

duties of loyalty, good faith, and the exercise of due care and diligence in the management and

administration of the affairs of the Company, as well as in the use and preservation of its property

and assets. The conduct of the Individual Defendants complained of herein involves a knowing

and culpable violation of their obligations as directors, officers, and controllers of XPO, the

absence of good faith on their part, or a reckless disregard for their duties to the Company and its

shareholders that the Individual Defendants were aware or should have been aware posed a risk of

serious injury to the Company. The conduct of the Individual Defendants who were also officers,

directors, and/or controllers of the Company has been ratified by the remaining Individual

Defendants who collectively comprised XPO’s Board at all relevant times.



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       52.     As senior executive officers, directors, and controllers of a publicly-traded

company whose common stock was registered with the SEC pursuant to the Exchange Act and

traded on the NYSE, the Individual Defendants had a duty to prevent and not to effect the

dissemination of inaccurate and untruthful information with respect to the Company’s financial

condition, performance, growth, operations, financial statements, business, products, management,

earnings, internal controls, and present and future business prospects, and had a duty to cause the

Company to disclose omissions of material fact in its regulatory filings with the SEC all those facts

described in this Complaint that it failed to disclose, so that the market price of the Company’s

common stock would be based upon truthful and accurate information.

       53.     To discharge their duties, the officers and directors of XPO were required to

exercise reasonable and prudent supervision over the management, policies, practices, and internal

controls of the Company. By virtue of such duties, the officers and directors of XPO were required

to, among other things:

               (a)     ensure that the Company was operated in a diligent, honest, and prudent

manner in accordance with the laws and regulations of Delaware and the United States, and

pursuant to XPO’s own Code of Conduct;

               (b)     conduct the affairs of the Company in an efficient, business-like manner so

as to make it possible to provide the highest quality performance of its business, to avoid wasting

the Company’s assets, and to maximize the value of the Company’s stock;

               (c)     remain informed as to how XPO conducted its operations, and, upon receipt

of notice or information of imprudent or unsound conditions or practices, to make reasonable

inquiry in connection therewith, and to take steps to correct such conditions or practices;




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               (d)     establish and maintain systematic and accurate records and reports of the

business and internal affairs of XPO and procedures for the reporting of the business and internal

affairs to the Board and to periodically investigate, or cause independent investigation to be made

of, said reports and records;

               (e)     maintain and implement an adequate and functioning system of internal

legal, financial, and management controls, such that XPO’s operations would comply with all

applicable laws and XPO’s financial statements and regulatory filings filed with the SEC and

disseminated to the public and the Company’s shareholders would be accurate;

               (f)     exercise reasonable control and supervision over the public statements

made by the Company’s officers and employees and any other reports or information that the

Company was required by law to disseminate;

               (g)     refrain from unduly benefiting themselves and other Company insiders at

the expense of the Company; and

               (h)     examine and evaluate any reports of examinations, audits, or other financial

information concerning the financial affairs of the Company and to make full and accurate

disclosure of all material facts concerning, inter alia, each of the subjects and duties set forth

above.

         54.   Each of the Individual Defendants further owed to XPO and the shareholders the

duty of loyalty requiring that each favor XPO’s interest and that of its shareholders over their own

while conducting the affairs of the Company and refrain from using their position, influence or

knowledge of the affairs of the Company to gain personal advantage.

         55.   At all times relevant hereto, the Individual Defendants were the agents of each other

and of XPO and were at all times acting within the course and scope of such agency.



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       56.     Because of their advisory, executive, managerial, directorial, and controlling

positions with XPO, each of the Individual Defendants had access to adverse, non-public

information about the Company.

       57.     The Individual Defendants, because of their positions of control and authority, were

able to and did, directly or indirectly, exercise control over the wrongful acts complained of herein,

as well as the contents of the various public statements issued by XPO.

        CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

       58.     In committing the wrongful acts alleged herein, the Individual Defendants have

pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with

and conspired with one another in furtherance of their wrongdoing. The Individual Defendants

caused the Company to conceal the true facts as alleged herein. The Individual Defendants further

aided and abetted and assisted each other in breaching their respective duties.

       59.     The purpose and effect of the conspiracy, common enterprise, and common course

of conduct was, among other things, to facilitate and disguise the Individual Defendants’ violations

of law, including breaches of fiduciary duty, unjust enrichment, waste of corporate assets, and

violations of Section 14(a) of the Exchange Act.

       60.     The Individual Defendants accomplished their conspiracy, common enterprise, and

common course of conduct by causing the Company purposefully or recklessly to conceal material

facts, fail to correct such misrepresentations, and violate applicable laws. In furtherance of this

plan, conspiracy, and course of conduct, the Individual Defendants collectively and individually

took the actions set forth herein. Because the actions described herein occurred under the authority

of the Board, each of the Individual Defendants, who are directors of XPO, was a direct, necessary,

and substantial participant in the conspiracy, common enterprise, and common course of conduct

complained of herein.
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         61.    Each of the Individual Defendants aided and abetted and rendered substantial

 assistance in the wrongs complained of herein. In taking such actions to substantially assist the

 commission of the wrongdoing complained of herein, each of the Individual Defendants acted with

 actual or constructive knowledge of the primary wrongdoing, either took direct part in, or

 substantially assisted the accomplishment of that wrongdoing, and was or should have been aware

 of his or her overall contribution to and furtherance of the wrongdoing.

         62.    At all times relevant hereto, each of the Individual Defendants was the agent of

 each of the other Individual Defendants and of XPO and was at all times acting within the course

 and scope of such agency.

                                 XPO’S CODE OF CONDUCT

        63.     The Company’s Code of Business Ethics (the “Code of Conduct”) states that

“[e]veryone at our company is held to the same high standards: our management, board of directors,

employees, suppliers and business partners. This makes it easier for us to meet our obligations as a

team. The Code also serves to communicate our integrity to the business community and the public

at large.”

         64.    The Code of Conduct provides that the Company is committed to “maintaining the

  trust of customers and others in our marketplaces by acting with integrity, competing fairly, and

  protecting confidential information.” In connection with the Company’s commitment to convey

  honest and accurate information, the Code of Conduct maintains that XPO’s business capabilities

  are accurately portrayed, stating in relevant part, “XPO accurately portrays its business

  capabilities. You may not make false or misleading statements about XPO’s services or those of

  our competitors; you should never knowingly misrepresent facts to gain a competitive advantage

  or for any other purpose.”



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       65.     The Code of Conduct states that XPO complies with the laws of all relevant

governments that it does business with, stating that when dealing with a government entity or

official, Company employees, officers, and/or directors may not “[m]ake false or misleading

statements about XPO’s services or capabilities.” Further, the Code of Conduct states that:

       XPO complies with all laws and regulations that govern dealings with federal, state,
       provincial, county and local governments, including entities working on behalf of
       a government, or owned or controlled by a government. If you are involved in
       seeking government contract work for XPO, it is particularly important for you to
       understand and observe all applicable rules. If you have questions or concerns
       regarding our government contract obligations, contact the Compliance Office or
       the internal legal counsel for your location or business unit.

       66.     The Code of Conduct also emphasizes that XPO complies with all laws and

regulations governing international trade, stating in relevant part:

       XPO does not permit the export or import of goods, services or data without
       appropriate authorization. When shipping under a government authorization, you
       must comply with all terms and conditions of the authorization and you cannot
       divert shipments to a place or person not included in the authorization. To ensure
       that the company can comply with government reporting requirements relating to
       international trade, you must properly document all export and import transactions.

       67.     The Code of Conduct outlines under a section titled “Protection of Company

Assets” that, “[w]e are committed to safeguarding the integrity of XPO’s assets, including the

information we receive from or provide to shareholders, regulators, business partners and other

third parties. We avoid conflicts of interest and we do business on our merits.” In the same section,

the Code of Conduct states that all public reports must be accurate, timely, and complete, stating

in relevant part:

       Our company’s senior financial officers must ensure that all financial information
       disclosed in public communications and in periodic reports with the U.S. Securities
       and Exchange Commission is complete, accurate, timely and understandable.
       Persons responsible for preparing such documents must ensure that all accounting
       records, and the reports produced from such records, fairly and accurately represent
       the transactions to which they relate. These records and reports must include
       reasonable detail and be supported by appropriate documentation. If you become

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         aware of anything in the company’s accounting records or reports that is false or
         misleading, inform the company’s Chief Legal Officer immediately.

         68.     The Code of Conduct also states XPO’s commitment to workplace safety.

    Specifically, the Code of Conduct provides that XPO complies with all laws that govern fair

    employment and labor practices, stating in relevant part:

         Equal Employment Opportunity
         XPO provides equal employment opportunities to all employees and applicants. We
         make employment decisions without regard to race, color, age, gender, religion,
         national origin, mental or physical disability, medical condition, family or medical
         leave status, marital status, sexual orientation, gender identity, or any other basis
         protected by law. This includes decisions related to hiring, placement, promotion,
         termination, discipline, leaves of absence, compensation, benefits and training.

         No Discrimination or Harassment
         XPO does not tolerate harassment or discrimination on the basis of any protected
         category or class. You must not engage in any abusive, harassing or offensive
         conduct, whether verbal, physical or visual. If you experience or become aware of
         any conduct that makes you uncomfortable, you should contact your supervisor,
         your Human Resources representative or the Compliance Office. If you have any
         questions regarding our company’s policies prohibiting harassment and
         discrimination, consult XPO’s No Discrimination, Harassment or Retaliation
         Policy.

         Workplace Safety
         XPO is committed to maintaining a safe work environment. All work must be
         performed in accordance with health and safety regulations and company policies.
         Immediately alert your supervisor to hazardous conditions in the workplace,
         vehicle accidents, work-related injuries or illnesses, violations of company policy
         and all other safety issues.

         69.     Additionally, XPO has adopted a “Business Ethics Policy” which promises “No

    Discrimination, Harassment or Retaliation” and outlines prohibited conduct at Company

    subsidiaries, divisions, and other operating entities.7 The Business Ethics Policy specifically

    prohibits harassment, stating in relevant part:




7
 https://ethics.xpo.com/static/pdf/No_Discrimination_Harassment_or_Retaliation_Policy/XPO_DHR_201
8_en-US.pdf. Last Visited May 2, 2019.

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       Prohibited Harassment: Conduct including, but not limited to, the following: •
       Verbal statements such as epithets, derogatory jokes or comments, slurs or
       unwanted sexual advances, invitations or comments;

             • Visual displays such as derogatory and/ or sexually-oriented posters,
             photography, cartoons, drawings or gestures;
             • Physical conduct including assault, unwanted touching, intentionally blocking
             normal movement or interfering with work because of sex, race or any other
             Protected Category;
             • Threats and demands to submit to sexual requests as a condition of continued
             employment, or to avoid some other loss and offers of employment benefits in
             return for sexual favors;
             • Communication via electronic media of any type that includes any conduct
             that is prohibited by state and/or federal law, or by company policy. Company
             systems shall not be used to transmit vulgar, profane, insulting, obscene or
             harassing messages.

       Prohibited Retaliation: Taking any adverse action against an individual for
       reporting, filing, testifying, assisting or participating in any manner in any
       investigation, proceeding or hearing conducted by the Company or a federal or state
       enforcement agency.

       70.      The Business Ethics Policy makes furthers promises about XPO’s culture and

business practices, including that XPO has a “Speak-up Culture” and does not retaliate, that the

Company will investigate and addresses concerns raised, and that the Company will take

appropriate remedial action.

       71.      The Individual Defendants violated the Code of Conduct and its Business Ethics

Policy by allowing the Company to engage in the Workplace Misconduct, causing the Company

to issue materially false and misleading statements to the public and to facilitate and disguise the

Individual Defendants’ violations of law, including breaches of fiduciary duty, waste of corporate

assets, unjust enrichment, and violations of Section 14(a) of the Exchange Act.

                        INDIVIDUAL DEFENDANTS’ MISCONDUCT

       Background




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        72.    XPO purports to be a top ten global provider of cutting-edge supply chain solutions

to the most successful companies in the world. The Company derives its revenue from a variety of

sectors in which it operates, including retail, e-commerce, food and beverage, consumer packaged

goods and industrial. The Company has two reportable segments, Transportation and Logistics.

XPO mainly operates as a transportation service company, providing services to multiple countries

through its reportable segments. Prior to Defendants Jacobs’ control, the Company was known as

Express-1 Expediated Solutions, Inc. Before XPO, Defendant Jacobs held a variety of high-level

positions at a number of companies, including UWS and URI. Both companies have been under

fire in recent years for their involvement in accounting fraud.

        73.    In September 2011, Defendant Jacobs, through JPE, took 71% ownership of the

Company and proceeded to execute an aggressive acquisition strategy, in line with his overall

business reputation at the time; Defendant Jacobs had built himself up as a billionaire through

“buying company after company[.]”8

        74.    Under Defendant Jacobs’ leadership, XPO carried out a series of acquisitions

between 2011 and 2015 including UX Specialized Logistics (2/9/2015), Bridge Terminal

Transport Inc. (5/4/2015), and Norbert Dentressangle (6/9/2015). The Company’s aggressive

M&A Strategy was widely promulgated, and the Company grew immensely shortly after

Defendant Jacobs took control, “from $177 million in sales in 2011 to $17 billion[.]” Indeed, in

line with its M&A Strategy, in August 2017, Defendant Jacobs announced plans to spend an

additional $7 to $8 billion for acquisitions.9

        The Workplace Misconduct


8
  https://www.bloomberg.com/news/articles/2019-02-19/xpo-s-billionaire-dealmaker-hits-m-a-brakes-
turns-to-buybacks. Last visited May 2, 2019.
9
  https://www.wsj.com/articles/xpo-logistics-may-spend-up-to-8-billion-on-acquisitions-1501714083.
Last visited May 3, 2019.

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        75.      During the Relevant Period, workplace misconduct complaints began surfacing

against XPO stemming from conduct tracing back to late 2014 related to, inter alia, excessive heat,

sexual harassment, misclassifying drivers as independent contractors as opposed to employees,

failing to pay overtime wages and proper employee benefits, and miscarriages experienced by

pregnant workers who were denied reasonable accommodation at one of XPO’s warehouses, New

Breed Logistics.

        76.      In 2017, the California Labor Commissioner’s Office awarded four XPO truck

drivers $855,000 in back wages after finding that XPO had misclassified them as independent

contractors.10

        77.      Furthermore, eight women claimed that they had been sexually harassed at an XPO-

operated facility in Memphis by a number of different XPO supervisors between October 2014

and March 2018.11

        78.      According to an investigation conducted by The New York Times in October 2018,

the list of egregious employee mistreatment included allegations of pregnancy discrimination and

claims that XPO supervisors required workers to continue working even when one employee fell

to the floor dead from cardiac arrest.12 The article stated specifically that “last October [2017], a

58-year-old woman died of cardiac arrest on the warehouse floor after complaining to colleagues

that she felt sick, according to a police report and current and former XPO employees. In Facebook

posts at the time and in recent interviews, employees said supervisors told them to keep working

as the woman lay dead.”



10
   https://www.nytimes.com/interactive/2018/10/21/business/pregnancy-discrimination-miscarriages.html. Last
visited May 2, 2019.
11
   https://www.theguardian.com/us-news/2018/may/23/eight-women-allege-sexual-harassment-at-xpo-logistics-
warehouse-in-memphis. Last visited May 2, 2019.
12
   https://www.nytimes.com/interactive/2018/10/21/business/pregnancy-discrimination-miscarriages.html. Last
visited May 2, 2019.

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        79.     The allegations of workplace misconduct at XPO also raised political attention. In

December 2018, ninety-seven members of the House of Representatives called for a congressional

investigation into working conditions at XPO’s Memphis warehouse, where several miscarriages

occurred.13 In February 2019, the Company announced it would be closing its Memphis facility,

resulting in hundreds of layoffs. According to one XPO employee: “‘[t]he warehouse is closing

because management chose to run this place like it’s their personal plantation, rather than running

it like it’s a company,’ she said Thursday.”14

        80.     In addition, according to the Company’s most recent 10-Q filed with the SEC on

May 1, 2019, there were numerous cases pending in California federal courts filed by XPO workers

against the Company alleging, inter alia, that the Company misclassified them as independent

contractors rather than employees, failed to pay overtime wages, and/or failed to provide meal and

rest periods.

        81.     In breach of their fiduciary duties, the Individual Defendants caused the Company

to fail to maintain internal controls and caused and/or failed to prevent the Company’s engagement

in the Workplace Misconduct described herein.

        False and Misleading Statements

        February 26, 2014 Form 10-K

        82.     On February 26, 2014 the Company filed with the SEC its annual report for the

fiscal year ended December 31, 2013 on a Form 10-K (the “2013 10-K”), which was signed by

Defendants Jacobs, Hardig, Jesselson, Kingshott, Papastavrou, and Shaffer.




13
   https://www.wsj.com/articles/house-members-seek-probe-into-xpo-logistics-worker-treatment-1543960304. Last
visited May 2, 2019.
14
   https://www.nytimes.com/2019/02/14/business/xpo-verizon-warehouse-pregnancy-discrimination.html. Last
visited May 2, 2019.

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       83.      The 2013 10-K included XPO’s financial results for the fiscal year ended December

31, 2013 and promoted the Company’s M&A Strategy, stating in relevant part:

       Acquisitions. We take a disciplined approach to acquisitions: we develop and
       maintain an active pipeline of targets by looking for companies that are highly
       scalable and are a good strategic fit with our core competency. When we acquire a
       company, we seek to integrate it with our operations and scale it up by adding
       salespeople. We integrate the acquired operations with our technology platform,
       which connects them to our broader organization, and we give them access to our
       shared carrier pool. We gain more carriers, customers, lane histories and pricing
       histories with each acquisition, and in some cases an acquisition adds
       complementary services. We capitalize on these resources Company-wide to buy
       transportation more efficiently and to cross-sell a more complete supply chain
       solution to customers. In 2012, we completed the acquisition of four non-asset third
       party logistics companies. We acquired another six companies in 2013, including
       3PD, the largest non-asset, third party provider of heavy goods, last-mile logistics
       in North America, and NLM, the largest provider of web-based expedited
       transportation management in North America. On January 5, 2014, we agreed to
       acquire Pacer International, Inc., a Tennessee corporation (“Pacer”), the third
       largest provider of intermodal transportation services in North America. We plan
       to continue to acquire quality companies that fit our strategy for growth.

       84.      The 2013 10-K included the following table, which represented the Company’s

debt obligations (in thousands) as of December 31, 2013 and 2012:
                                                                              As of          As of
                                                     Interest    Term      December 31,   December 31,
                                                      rates     (months)       2013           2012
   Convertible senior notes                           4.50%         60     $ 133,742      $ 143,750
   Revolving credit facility                          3.63%         60        75,000            —
   Notes payable                                      N/A          N/A         2,205            863
   Capital leases for equipment                      14.02%         59           196            154
   Line of credit                                     5.00%        N/A           —              150
   Total debt                                                                211,143        144,917
   Less: unamortized bond discount and debt
      issuance costs                                                          27,474         35,470
   Less: current maturities of long-term debt                                  2,028            491
   Total long-term debt, net of current maturities                         $ 181,641      $ 108,956


       85.      Attached to the 2013 10-K were certifications pursuant to Rule 13a-14(a) and 15d-

14(a) under the Exchange Act and the Sarbanes-Oxley Act of 2002 (“SOX”) signed by Defendants

Jacobs and Hardig attesting to the accuracy of the 2013 10-K.

       April 25, 2014 Proxy Statement


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        86.      The Company filed its Schedule 14A with the SEC on April 25, 2014 (the “2014

Proxy Statement”). Defendants Jacobs, Jesselson, Kingshott, Papastavrou, and Shaffer solicited

the 2014 Proxy Statement filed pursuant to Section 14(a) of the Exchange Act, which contained

material misstatements and omissions.15

        87.      The 2014 Proxy Statement stated, regarding the Company’s Code of Conduct, that,

        [w]e have a Code of Business Conduct and Ethics that applies to all directors and
        employees, including our senior management team. In addition, our Board adopted
        the Senior Officer Code of Business Conduct and Ethics, which is applicable
        exclusively to our senior management team. These codes are designed to deter
        wrongdoing, to promote the honest and ethical conduct of all employees and to
        promote compliance with applicable governmental laws, rules and regulations.

        88.      The 2014 Proxy Statement was false and misleading because, despite assertions to

the contrary, its Code of Conduct was not followed, as evidenced by the Workplace Misconduct,

the numerous false and misleading statements alleged herein, and the Individual Defendants’

failures to report violations of the Code of Conduct.

        89.      The Individual Defendants also caused the 2014 Proxy Statement to be false and

misleading with regard to executive compensation in that they purported to link pay to

performance, in order to “to align the interests of our executive management with the interests of

our stockholders” while failing to disclose that the Company’s share price was artificially inflated

as a result of false and misleading statements alleged herein.

        90.      The 2014 Proxy Statement also failed to disclose, inter alia, that: (1) the Company’s

widely promoted M&A Strategy generated nominal returns to XPO; (2) the Company’s financial

statements were prepared with improper accounting methods employed to disguise the true state


15
  Plaintiff’s allegations with respect to the misleading statements in the 2014 Proxy Statement are based
solely on negligence; they are not based on any allegation of reckless or knowing conduct by or on behalf
of the Individual Defendants, and they do not allege, and do not sound in, fraud. Plaintiff specifically
disclaims any allegations of, reliance upon any allegation of, or reference to any allegation of fraud, scienter,
or recklessness with regard to these allegations and related claims.

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of the Company’s financial condition, such as under-reporting bad debts and aggressive

amortization assumptions; and (3) the Company failed to maintain internal controls. Due to the

foregoing, Defendants’ statements regarding the Company’s business, operations, and prospects

were materially false, misleading, and lacked a reasonable basis in fact at all relevant times.

       February 23, 2015 Form 10-K

       91.       On February 23, 2015 the Company filed with the SEC its annual report for the

fiscal year ended December 31, 2014 on a Form 10-K (the “2014 10-K”), which was signed by

Defendants Jacobs, Hardig, Jesselson, Kingshott, Papastavrou, and Shaffer.

       92.       The 2014 10-K reported XPO’s operating and financial results, recording $63.6

million in net loss, $2.00 per diluted share on $2.36 billion in revenue. The previous year, the

Company had reported a net loss of $48.53 million on revenue of $702.3 million.

       93.       The 2014 10-K also promoted the Company’s M&A Strategy, outlining the

strategy’s three main components, one being acquisitions. Specifically, the 2014 10-K described

XPO’s approach to acquisitions and listed several of the companies acquired by XPO since 2012,

including New Breed, which the Company acquired in September 2014. The 2014 10-K stated in

relevant part:

       Acquisitions. We take a disciplined approach to acquisitions: we look for
       companies that are highly scalable and are a good strategic fit with our core
       competencies. When we acquire a company, we seek to integrate it with our
       operations by moving the acquired operations onto our technology platform that
       connects our broader organization. We gain more carriers, customers, lane histories
       and pricing histories with each acquisition, and some acquisitions add
       complementary services. We use these resources company-wide to buy
       transportation more efficiently and to cross-sell a more complete supply chain
       solution to customers. In 2012, we completed the acquisition of four non-asset,
       third-party logistics companies. We acquired another six companies in 2013,
       including 3PD, the largest non-asset, third-party provider of last mile logistics for
       heavy goods in North America, and National Logistics Management (“NLM”), the
       largest provider of web-based expedited transportation management in North
       America. On March 31, 2014, we acquired Pacer, the third largest provider of

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        intermodal transportation services in North America. On July 28, 2014, we acquired
        last mile logistics company ACL. We completed our acquisition of contract
        logistics company New Breed on September 2, 2014. On February 9, 2015, we
        acquired substantially all of the assets of last mile logistics company UX
        Specialized Logistics (“UX”). We have an active pipeline of key targets, and we
        plan to continue acquiring quality companies that fit our strategy for growth.

        94.      The 2014 10-K also provided the table below, which disclosed the Company’s debt

obligations as of December 31, 2014 and December 31, 2013 (in millions):

                                                                                 As of               As of
                                                   Interest     Term          December 31,        December 31,
                                                    rates      (months)           2014                2013
Senior notes due 2019                                  7.88%          60 $          500.0     $           —
Convertible senior notes                               4.50%          60            106.8               133.7
Revolving credit facility                              4.38%          60              —                  75.0
Notes payable                                          N/A           N/A              1.8                 2.2
Capital leases for equipment                          14.22%          59              0.2                 0.2
Total debt                                                                          608.8               211.1
Less: unamortized discount on convertible senior
notes                                                                                (14.9)              (27.4)
Less: current maturities of long-term debt                                            (1.8)               (2.0)
Total long-term debt, net of current maturities                           $         592.1     $         181.7


        95.      In addition, the 2014 10-K included a table with estimated future amortization

expenses “for amortizable intangible assets for the next five years” (in millions). Specifically, the

2014 10-K maintained that the Company estimated amortization expenses of $66 million for 2015,

$52.2 million for 2016, $41.3 million for 2017, $38.8 million for 2018, and $37.1 million for 2019.

The 2014 10-K also stated that XPO recorded intangible asset amortization expenses of “$62.5

million, $14.1 million and $1.3 million for the years ended December 31, 2014, 2013 and 2012

respectively.”

        96.      Attached to the 2014 10-K were SOX certifications signed by Defendants Jacobs

and Hardig attesting to the accuracy of the 2014 10-K.

        April 8, 2015 Proxy Statement



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        97.      The Company filed its Schedule 14A with the SEC on April 8, 2015 (the “2015

Proxy Statement”). Defendants Jacobs, Jesselson, Kingshott, Papastavrou, and Shaffer solicited

the 2015 Proxy Statement filed pursuant to Section 14(a) of the Exchange Act, which contained

material misstatements and omissions.16

        98.      The 2015 Proxy Statement stated, regarding the Company’s Code of Conduct, that,

        [w]e have a Code of Business Conduct and Ethics that applies to all directors and
        employees, including our senior management team. In addition, our Board adopted
        the Senior Officer Code of Business Conduct and Ethics, which is applicable
        exclusively to our senior management team. These codes are designed to deter
        wrongdoing, to promote the honest and ethical conduct of all employees and to
        promote compliance with applicable governmental laws, rules and regulations.

        99.      The 2015 Proxy Statement was false and misleading because, despite assertions to

the contrary, its Code of Conduct was not followed, as evidenced by the Workplace Misconduct,

the numerous false and misleading statements alleged herein, and the Individual Defendants’

failures to report violations of the Code of Conduct.

        100.     The Individual Defendants also caused the 2015 Proxy Statement to be false and

misleading with regard to executive compensation in that they purported to link pay to

performance, in order to “to align the interests of our executive management with the interests of

our stockholders” while failing to disclose that the Company’s share price was artificially inflated

as a result of false and misleading statements alleged herein.

        101.     The 2015 Proxy Statement also failed to disclose, inter alia, that: (1) the Company’s

widely promoted M&A Strategy generated nominal returns to XPO; (2) the Company’s financial

statements were prepared with improper accounting methods employed to disguise the true state


16
  Plaintiff’s allegations with respect to the misleading statements in the 2015 Proxy Statement are based
solely on negligence; they are not based on any allegation of reckless or knowing conduct by or on behalf
of the Individual Defendants, and they do not allege, and do not sound in, fraud. Plaintiff specifically
disclaims any allegations of, reliance upon any allegation of, or reference to any allegation of fraud, scienter,
or recklessness with regard to these allegations and related claims.

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of the Company’s financial condition, such as under-reporting bad debts and aggressive

amortization assumptions; and (3) the Company failed to maintain internal controls. Due to the

foregoing, Defendants’ statements regarding the Company’s business, operations, and prospects

were materially false, misleading, and lacked a reasonable basis in fact at all relevant times.

           February 29, 2016 Form 10-K

           102.         On February 29, 2016 the Company filed with the SEC its annual report for the

fiscal year ended December 31, 2015 on a Form 10-K (the “2015 10-K”), which was signed by

Defendants Jacobs, Hardig, DeJoy, Jesselson, Kingshott, Papastavrou, and Shaffer. The 2015 10-

K reported a net loss of $191.1 million on revenue of $7.62 billion, and for 2015, as noted above,

the 2015 10-K also recorded $63.6 million net loss on revenue of $2.36 billion.

           103.         The 2015 10-K also outlined XPO’s debt as of December 31, 2015 and 2014 in the

following table:

                                                   Stated          Initial      As of December 31,   As of December 31,
(Dollars in millions)                          Interest Rates   Term (months)          2015                 2014
ABL Facility                                        2.64%                  60 $              —       $          —
Senior Notes due 2022                               6.50%                  84           1,600.0                 —
Senior Notes due 2021                               5.75%                  72             544.4                 —
Senior Notes due 2019                               7.88%                  60             900.0               500.0
Senior Notes due 2018                               7.25%                 120             265.8                 —
Term loan facility                                  5.50%                  72           1,600.0                 —
Senior Debentures due 2034                          6.70%                 360             300.0                 —
Convertible senior notes                            4.50%                  60              52.3               106.8
Euro Private Placement Notes due 2020               4.00%                  84              13.1                 —
Asset financing [a]                                 1.38%                  67             262.5                 —
Notes payable                                    Various              Various               3.5                 1.8
Capital leases for equipment                        1.40%                  70              59.1                 0.2
Total debt                                                                              5,600.7               608.8
Plus: unamortized premium on Senior
Notes due 2019                                                                             13.2                   —
Plus: unamortized fair value premium on
Senior Notes due 2018                                                                       2.4                   —
Plus: unamortized fair value premium on
Euro Private Placement Notes                                                                1.4                   —
Less: unamortized fair value discount on
Senior Debentures due 2034                                                               (101.0)                  —

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Less: unamortized discount on convertible
senior notes                                                                                   (4.3)            (14.9)
Less: unamortized discount on term loan
facility                                                                                     (31.5)                —
Less: current maturities of long-term debt                                                  (135.3)               (1.8)
Less: debt issuance costs                                                                    (73.0)    $         (11.8)
Total long-term debt, net of current
maturities                                                                         $       5,272.6     $        580.3

[a] The stated interest rate and initial term (in months) for the asset financing is the weighted-average stated interest
rate and initial term (in months), respectively.

         104.     In addition, the 2015 10-K estimated future amortization expenses for the following

five years (in millions) as follows: $201.3 in 2016, $187.4 in 2017, $179.0 in 2018, $172.7 in 2019,

and $166.6 in 2020.

         105.     Attached to the 2015 10-K were SOX certifications signed by Defendants Jacobs

and Hardig attesting to the accuracy of the 2015 10-K.

     April 6, 2016 Proxy Statement
         106.     The Company filed its Schedule 14A with the SEC on April 6, 2016 (the “2016

Proxy Statement”). Defendants Jacobs, Ashe, DeJoy, Jesselson, Kingshott, Papastavrou, and

Shaffer solicited the 2016 Proxy Statement filed pursuant to Section 14(a) of the Exchange Act,

which contained material misstatements and omissions.17

         107.     The 2016 Proxy Statement stated, regarding the Company’s Code of Conduct, that,

         [w]e have a Code of Business Conduct and Ethics that applies to all directors and
         employees, including our senior management team. In addition, our Board adopted
         the Senior Officer Code of Business Conduct and Ethics, which is applicable
         exclusively to our senior management team. These codes are designed to deter
         wrongdoing, to promote the honest and ethical conduct of all employees and to
         promote compliance with applicable governmental laws, rules and regulations, as
         well as to provide clear channels for reporting concerns.


17
  Plaintiff’s allegations with respect to the misleading statements in the 2016 Proxy Statement are based
solely on negligence; they are not based on any allegation of reckless or knowing conduct by or on behalf
of the Individual Defendants, and they do not allege, and do not sound in, fraud. Plaintiff specifically
disclaims any allegations of, reliance upon any allegation of, or reference to any allegation of fraud, scienter,
or recklessness with regard to these allegations and related claims.

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       108.    The 2016 Proxy Statement was false and misleading because, despite assertions to

the contrary, its Code of Conduct was not followed, as evidenced by the Workplace Misconduct,

the numerous false and misleading statements alleged herein, and the Individual Defendants’

failures to report violations of the Code of Conduct.

       109.    The Individual Defendants also caused the 2016 Proxy Statement to be false and

misleading with regard to executive compensation in that they purported to strongly correlate pay

and performance, in order to “to align the interests of our executive team with the interests of our

stockholders” while failing to disclose that the Company’s share price was artificially inflated as

a result of false and misleading statements alleged herein.

       110.    The 2016 Proxy Statement also failed to disclose, inter alia, that: (1) the Company’s

widely promoted M&A Strategy generated nominal returns to XPO; (2) the Company’s financial

statements were prepared with improper accounting methods employed to disguise the true state

of the Company’s financial condition, such as under-reporting bad debts and aggressive

amortization assumptions; and (3) the Company failed to maintain internal controls. Due to the

foregoing, Defendants’ statements regarding the Company’s business, operations, and prospects

were materially false, misleading, and lacked a reasonable basis in fact at all relevant times.

   February 28, 2017 Form 10-K

       111.    On February 28, 2017 the Company filed with the SEC its annual report for the

fiscal year ended December 31, 2016 on a Form 10-K (the “2016 10-K”), which was signed by all

of the Individual Defendants. The 2016 10-K reported net loss of $69 million on revenue of $14.62

billion and further outlined XPO’s debt and financial liabilities (in millions) in the following table

as follows:

                                 December 31, 2016                        December 31, 2015
                                                 Fair Value                               Fair Value



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                             Principal       Carrying                                      Principal       Carrying
(In millions)                Balance          Value          Level 1        Level 2        Balance          Value          Level 1       Level 2
ABL Facility             $        30.0   $        30.0   $        —     $       30.0   $          —    $         —     $        —    $        —
Senior Notes due 2023            535.0          527.1          560.4             —                —              —              —             —
Senior Notes due 2022          1,600.0         1,579.9       1,689.4             —           1,600.0         1,577.0       1,479.8            —
Senior Notes due 2021            527.1          520.7          546.0             —             544.4          536.6             —          507.5
Senior Notes due 2019               —              —              —              —             900.0          900.4          920.3            —
Senior Notes due 2018            265.8          267.1          274.0             —             265.8          268.2             —          271.0
Term loan facility             1,481.9         1,439.2            —         1,507.1          1,600.0         1,540.3            —        1,590.0
Senior Debentures due
2034                             300.0          200.8          241.6             —             300.0          199.0             —          201.0
Convertible senior
notes                             49.4            47.1         129.8             —              52.3            46.8          89.1            —
Euro private placement
notes due 2020                    12.6            13.7            —             14.0            13.1            14.5            —           13.9
Asset financing                  145.0          145.0          145.0             —             266.0          266.0          266.0            —
Capital leases for
equipment                         97.4            97.4            —             97.4            59.1            59.1            —           59.1
Total debt               $ 5,044.2       $ 4,868.0                                     $ 5,600.7       $ 5,407.9
Current maturities of
long-term debt                   138.9          136.5                                          133.9          135.3
Long-term debt           $ 4,905.3       $ 4,731.5                                     $ 5,466.8       $ 5,272.6


The Level 1 debt was valued using quoted prices in active markets. The Level 2 debt was valued using bid evaluation
pricing models or quoted prices of securities with similar characteristics. The fair value of the asset financing
arrangements approximates carrying value since the debt is primarily issued at a floating rate, may be prepaid any
time at par without penalty and the remaining life is short-term in nature.

             112. The 2016 10-K also noted the estimated future amortization expenses for

amortizable intangible assets for the following five years (in millions) as follows: $161.0 in 2017,

$153.5 in 2018, $147.4 in 2019, $141.4 in 2020, and $134.1 in 2021. In addition, the 2016 10-K

included the following disclosure:

           As of December 31, 2016, we had $342.0 million of working capital, including
           cash and cash equivalents of $373.4 million, compared to working capital of $262.8
           million, including cash and cash equivalents of $289.8 million, as of
           December 31, 2015. This increase of $79.2 million in working capital during the
           period was mainly due to an increase in cash and accounts receivable, partially
           offset by an increase in accrued expenses.

           We continually evaluate our liquidity requirements, capital needs and the
           availability of capital resources based on our operating needs and our planned
           growth initiatives. In addition to using existing cash balances and net cash provided
           by operating activities, in certain circumstances we may use debt financings and
           issuances of equity or equity-related securities to fund our operating needs and

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        growth initiatives. We believe that cash generated from operations, our existing
        cash balance, and availability of capacity to draw down under our ABL Facility
        will be sufficient to support our existing operations over the next 12 months.

         113. Attached to the 2016 10-K were SOX certifications signed by Defendants Jacobs

and Hardig attesting to the accuracy of the 2016 10-K.

     April 17, 2017 Proxy Statement
          114. The Company filed its 2017 Proxy Statement with the SEC on April 17, 2017.

 Defendants Jacobs, Ashe, DeJoy, Jesselson, Kingshott, Papastavrou, and Shaffer solicited the

 2017 Proxy Statement filed pursuant to Section 14(a) of the Exchange Act, which contained

 material misstatements and omissions.18

        115.     The 2017 Proxy Statement stated, regarding the Company’s Code of Conduct, that,

“[w]e have a Code of Business Ethics that applies to our directors and executive officers. This

code is designed to deter wrongdoing, to promote the honest and ethical conduct of all employees

and to promote compliance with applicable governmental laws, rules and regulations, as well as

to provide clear channels for reporting concerns.”

        116.     The 2017 Proxy Statement was false and misleading because, despite assertions to

the contrary, its Code of Conduct was not followed, as evidenced by the Workplace Misconduct,

the numerous false and misleading statements alleged herein, and the Individual Defendants’

failures to report violations of the Code of Conduct.

        117.     The Individual Defendants also caused the 2017 Proxy Statement to be false and

misleading with regard to executive compensation in that they purported to strongly correlate pay



18
  Plaintiff’s allegations with respect to the misleading statements in the 2017 Proxy Statement are based
solely on negligence; they are not based on any allegation of reckless or knowing conduct by or on behalf
of the Individual Defendants, and they do not allege, and do not sound in, fraud. Plaintiff specifically
disclaims any allegations of, reliance upon any allegation of, or reference to any allegation of fraud, scienter,
or recklessness with regard to these allegations and related claims.

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and performance, in order to “to align the interests of our executive team with the interests of our

stockholders” while failing to disclose that the Company’s share price was artificially inflated as

a result of false and misleading statements alleged herein.

           118.      The 2017 Proxy Statement also failed to disclose, inter alia, that: (1) the Company’s

widely promoted M&A Strategy generated nominal returns to XPO; (2) the Company’s financial

statements were prepared with improper accounting methods employed to disguise the true state

of the Company’s financial condition, such as under-reporting bad debts and aggressive

amortization assumptions; and (3) the Company failed to maintain internal controls. Due to the

foregoing, Defendants’ statements regarding the Company’s business, operations, and prospects

were materially false, misleading, and lacked a reasonable basis in fact at all relevant times.

           February 12, 2018 Form 10-K

            119. On February 12, 2018 the Company filed with the SEC its annual report for the

fiscal year ended December 31, 2017 on a Form 10-K (the “2017 10-K”), which was signed by all

of the Individual Defendants. The 2017 10-K announced the Company’s operating and financial

results and reported net loss of $340.2 million, $2.45 per diluted share, on revenue of $15.38

billion—compared to $69 million recorded as net loss on revenue of $14.62 billion in 2016.

            120. The 2017 10-K summarized XPO’s debt and valuation of financial liabilities in the

table below as follows:


                                                      December 31, 2017                     December 31, 2016


(In millions)                                  Principal Balance   Carrying Value   Principal Balance   Carrying Value
ABL Facility                                  $            100.0 $         100.0    $            30.0 $           30.0
Term loan facility                                       1,494.0          1,455.6             1,481.9           1,439.2
6.125% Senior Notes due 2023                               535.0           528.0                535.0            527.1
6.50% Senior Notes due 2022                              1,600.0          1,583.0             1,600.0           1,579.9
5.75% Senior Notes due 2021                                   —               —                 527.1            520.7
7.25% Senior Notes due 2018                                   —               —                 265.8            267.1


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6.70% Senior Debentures due 2034                          300.0          202.8                300.0           200.8
4.50% Convertible senior notes                                —             —                  49.4            47.1
4.00% Euro private placement notes due 2020                  14.4         15.3                 12.6            13.7
European Trade Securitization Program                     302.6          298.6                  —                —
Asset financing                                              90.0         90.0                145.0           145.0
Capital leases for equipment                              247.9          247.9                 97.4            97.4
Total debt                                               4,683.9       4,521.2              5,044.2          4,868.0
Current maturities of long-term debt                      103.7          103.7                138.9           136.5
Long-term debt                                 $         4,580.2 $     4,417.5    $         4,905.3 $        4,731.5
The fair value of the debt at December 31, 2017 was $4,816.1 million, of which $2,647.4 million was classified as
Level 1 and $2,168.7 million was classified as Level 2 in the fair value hierarchy. The fair value of the debt
at December 31, 2016 was $5,234.7 million, of which $3,586.2 million was classified as Level 1 and $1,648.5
million was classified as Level 2. The Level 1 debt was valued using quoted prices in active markets. The Level 2
debt was valued using bid evaluation pricing models or quoted prices of securities with similar characteristics. The
fair value of the asset financing arrangements approximates carrying value since the debt is primarily issued at a
floating rate, may be prepaid any time at par without penalty, and the remaining life is short‐term in nature.

             121. Additionally, the 2017 10-K estimated future amortization expenses for

amortizable intangible assets for the following five years (in millions) as follows: $160.5 in 2018,

$154.0 in 2019, $147.9 in 2020, $140.3 in 2021, $130.3 in 2022, and $702.4 thereafter.

             122. The 2017 10-K included the following disclosure:

         As of December 31, 2017, we had availability under the ABL Facility of $655.4
         million. As of December 31, 2017, we had $590.8 million of working capital,
         including cash and cash equivalents of $396.9 million, compared to working capital
         of $342.0 million, including cash and cash equivalents of $373.4 million, as of
         December 31, 2016. This increase of $248.8 million in working capital during the
         period was mainly due to higher sales that resulted in increased accounts receivable,
         partially offset by an increase in accrued expenses largely related to higher
         performance-based compensation.

         We continually evaluate our liquidity requirements, capital needs and the
         availability of capital resources based on our operating needs and our planned
         growth initiatives. We believe that our existing sources of cash will be sufficient to
         support our existing operations over the next 12 months.


             123. Attached to the 2017 10-K were SOX certifications signed by Defendants Jacobs

and Hardig attesting to the accuracy of the 2017 10-K.

             124. The statements in ¶¶ 82-85, 91-96, 102-105, 111-113, and 119-123 were materially

false and misleading, and they failed to disclose material facts necessary to make the statements

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made not false and misleading. Specifically, the Individual Defendants improperly failed to

disclose and caused the Company to fail to disclose, inter alia, that: (1) the Company’s widely

promoted M&A Strategy generated nominal returns to XPO; (2) the Company’s financial

statements were prepared with improper accounting methods employed to disguise the true state

of the Company’s financial condition, such as under-reporting bad debts and aggressive

amortization assumptions; and (3) the Company failed to maintain internal controls. As a result of

the foregoing, the Company’s public statements were materially false and misleading at all

relevant times.

        April 18, 2018 Proxy Statement
         125. The Company filed its 2018 Proxy Statement with the SEC on April 18, 2018.

Defendants Jacobs, Ashe, DeJoy, Jesselson, Kingshott, Papastavrou, and Shaffer solicited the 2018

Proxy Statement filed pursuant to Section 14(a) of the Exchange Act, which contained material

misstatements and omissions.19

        126.      The 2018 Proxy Statement stated, regarding the Company’s Code of Conduct, that,

“[w]e have a Code of Business Ethics that applies to our directors and executive officers. This

code is designed to deter wrongdoing, to promote the honest and ethical conduct of all employees

and to promote compliance with applicable governmental laws, rules and regulations, as well as

to provide clear channels for reporting concerns.”

        127.      The 2018 Proxy Statement was false and misleading because, despite assertions to

the contrary, its Code of Conduct was not followed, as evidenced by the Workplace Misconduct,



19
  Plaintiff’s allegations with respect to the misleading statements in the 2018 Proxy Statement are based
solely on negligence; they are not based on any allegation of reckless or knowing conduct by or on behalf
of the Individual Defendants, and they do not allege, and do not sound in, fraud. Plaintiff specifically
disclaims any allegations of, reliance upon any allegation of, or reference to any allegation of fraud, scienter,
or recklessness with regard to these allegations and related claims.

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the numerous false and misleading statements alleged herein, and the Individual Defendants’

failures to report violations of the Code of Conduct.

       128.    The Individual Defendants also caused the 2018 Proxy Statement to be false and

misleading with regard to executive compensation in that they purported to strongly correlate pay

and performance, in order to “to align the interests of our [non-executive officers] with the interests

of our stockholders” while failing to disclose that the Company’s share price was artificially

inflated as a result of false and misleading statements alleged herein.

       129.    The 2018 Proxy Statement also failed to disclose, inter alia, that: (1) the Company’s

widely promoted M&A Strategy generated nominal returns to XPO; (2) the Company’s financial

statements were prepared with improper accounting methods employed to disguise the true state

of the Company’s financial condition, such as under-reporting bad debts and aggressive

amortization assumptions; and (3) the Company failed to maintain internal controls. Due to the

foregoing, Defendants’ statements regarding the Company’s business, operations, and prospects

were materially false, misleading, and lacked a reasonable basis in fact at all relevant times.

                                   The Truth Begins to Emerge

   130.        On December 12, 2018, Spruce Point Capital Management LLC published the

Spruce Report. The Spruce Report asserted that an investigation into the Company had revealed

alarming concerns about how XPO had been operating its business and reporting its financial

condition in its SEC filings. Specifically, the Spruce Report revealed that the Company’s highly

touted and aggressive M&A strategy had yielded minimal returns, that XPO’s financial statements

contained irregularities that suggested that the Company had utilized a number of improper

accounting practices to hide the true nature of their financial state. The Spruce Report stated that

XPO was:



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    A Value Destructive Roll-Up, Covering Financial Strain and Dependent On Financing
    For Survival: XPO has completed 17 acquisitions since Jacobs took control in 2011
    and deployed $6.1 billion of capital. Yet by our calculations, the Company has
    generated $73m of cumulative adjusted free cash flow in an expansionary economic
    period. In our view, this is indicative of a failed business strategy yielding a paltry 1.2%
    return on invested capital. XPO is dependent on external capital, asset sales, and
    factoring receivables to survive and is covering up a working capital crunch that can
    been seen by bank overdrafts . . . . As credit conditions tighten, cost of capital increases,
    and XPO’s business practices come under greater scrutiny (eg. U.S. Senate), its share
    price could swiftly collapse in Enron-style fashion.
    131.        The Spruce Report further asserted that XPO had utilized “Dubious Financial

Presentation And Aggressive Accounting,” stating in relevant part:

    Dubious Financial Presentation And Aggressive Accounting: In our opinion, XPO has
    used a nearly identical playbook from United Rentals leading up to its SEC
    investigation, executive felony convictions, and share price collapse. We find concrete
    evidence to suggest dubious tax accounting, under-reporting of bad debts, phantom
    income through unaccountable M&A earn-out labilities, and aggressive amortization
    assumptions: all designed to portray glowing “Non-GAAP” results. Additionally, we
    provide evidence that its “organic revenue growth” cannot be relied upon, its free cash
    flow does not reflect its fragile financial condition, and numerous headwinds will
    pressure earnings.
    132.        The Spruce Report uncovered that in an effort to exude exceptional Non-GAAP

results, the Individual Defendants participated in a series of improper accounting practices to trick

the investing public into thinking that the Company was consistently meeting its earnings forecasts

and analyst expectations. These improper accounting practices led to misstatements in the

Company’s SEC filings pertaining to its condition and operating results. Among the improper

accounting practices identified by the Spruce Report was that XPO failed to appropriately value

acquired assets. As per GAAP rules, the Company was required to identify certain acquired assets

and connected liabilities from an acquired company based on the assets’ respective fair value at

the time of the acquisition. The Spruce Report asserted that XPO had understated equipment

valuations and overstated income when undervalued equipment was resold, which led to inaccurate

books, records, and financial statements and reports and overstated pre-income tax. Furthermore,


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the Spruce Report stated that the Company had co-mingled acquisition reserves with existing

operating reserves which allowed XPO to offset normal operating costs and increase pre-tax

income. Acquisition reserves left on the Company’s books long after the allocation period enabled

XPO to off-set bad debt expense after an acquisition. Rather than recording excess amounts

resulting from acquired assets as goodwill, the Company improperly reported those excess

amounts as income, which resulted in substantial pre-tax income overstatements.

    133.        The Spruce Report contained a charted break-down comparing the questionable

practices XPO engaged in with Defendant Jacobs’ previous company, URI, which had been

investigated by the SEC for fraudulent practices. The Spruce Report outlined the similarities

between URI and XPO in the following chart, claiming that the concerns over XPO’s financial

statements “mirrored” issues uncovered with URI:


   Concern         Evidence                                         Impact and Implication       URI Playbook


                • Seventeen acquisitions since Jacobs took      • To continue its growth,
 Non‐Economic     control of XPO, $6.1 billion of capital         XPO will be dependent
                                                                                                     YES
 Value            deployed, and generated just $73m of            on larger acquisitions
 Destructive      cumulative adjusted free cash flow = a failed   and more external
 Roll‐Up          business strategy yielding a 1.2% return on     capital
                  capital investment                            • Rising interest rates
                                                                  and cost of capital will
                                                                  lower economic
                                                                  returns to the strategy

                                                                 • $190m of financing costs to
                • XPO has raised $5 billion of debt and equity                                       YES
 Dependent                                                         Wall Street, not including
                  capital, and is resorting to increased asset
 On Banks                                                          M&A advisory fees
                  sales and factoring of accounts receivables
 To Survive                                                      • Can create
                  to bridge the financing gap
                                                                   incentives to
                                                                   appease banks
                                                                   before shareholders
                                                                   (evidence: forward




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 Growing        • Moving to more capital intensive businesses
                                                              • We believe XPO will be
 Working          (trucking/warehouses)
                                                                forced to continue to
 Capital        • XPO has repeatedly reported bank overdrafts
                                                                raise additional debt or
 Crunch +         and stopped reporting quarterly details in
                                                                equity capital
 Persistently     current liabilities
                                                              • A likely factor why XPO
 Out of Cash    • Working capital to sales ratio climbs every
                                                                has failed to complete
                  quarter, while difference between DSO and
                                                                an acquisition in 2018
                  DPOs contracting >>> Started factoring
                                                                despite headlines in
                  European accounts receivable in Q4’17
                                                                2017 of its “$8 billion”
                                                                capacity for deals




                • Inability to reconcile XPO’s historical
 Organic                                                       • The CEO has stressed
 Revenue          stated organic growth, including
                                                                 organic sales growth is one
 Growth Not       calculation discrepancy in XPO’s 2017
                                                                 of the biggest factors that
 Reliable         organic result
                                                                 investors use to value XPO.
                • Questionable Non‐GAAP adjustment to FX
                                                                 This creates possible
                  impact
                                                                 incentives for XPO to inflate
                • Despite YTD quarterly avg organic
                                                                 this metric
                  growth of 10.8%, cash flow growth
                  increased by just 3.2%



 Adj. EBITDA    • XPO has repeatedly stretched out                                               YES
 And Earnings     amortization assumptions                      • EBITDA is another important
 Quality        • Reports significantly increased non‐operating   financial metric investors
 Concerns         pension gains                                   focus on. We estimate
 Make XPO       • Labels recurring M&A and restructuring          leverage of Net Debt/Adj
 More Levered     costs as EBITDA add‐backs despite these         EBITDAR is close to 3x
 Than It          being material costs of executing its roll‐up • URI case cited improper
 Appears          strategy                                        accounting for customer
                • Includes 100% of XPO Europe as EBITDA           relationships, while we
                  despite owning 87%                              observe XPO consistently
                • Dependence on operating leases will move        stretching out assumptions
                  on balance sheet in 2019                        for customer relationship
                • In Q3’18, XPO shifted gains and losses on
                  asset sales from “other income” into
                  operating results, without providing $
                  details



    134.        The chart continued to track the similarities between URI’s “playbook” and the

conduct taken by XPO during the Relevant Period. (See Chart Continued Below).




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                                                                                                       URI
    Concern     Evidence                                          Impact and Implication
                                                                                                    Playbook

                • Post Q2’15 acquisitions, XPO’s allowance for
                                                                  • XPO could have flushed          YES
A/R Bad           bad debt as a % of gross receivables
                                                                    bad debts and labelled
Debt              materially declined despite Norbert carrying
                                                                    them as acquisition costs
Manipulat         a higher % of allowances, and has been
                                                                    to be ignored. URI case
ion               growing every quarter
                                                                    cited improper A/R
                • XPO just started disclosing bad debt in Q3’18
                                                                    reserve manipulation to
                  MD&A
                                                                    boost net income



               •   XPO created a $29m earn‐out liability on
Phantom Income                                                    • IF XPO followed                 YES
                   June 30, 2015 despite not disclosing any
Potential                                                           standard earn‐out
                   earn‐out compensation for the three
Through                                                             accounting, it would
                   acquisitions during that period: UX
Unaccountable                                                       reverse the liability and
                   Logistics, ND, or BTT
M&A Earn‐Out                                                        book $29m of income.
               •   The liability was reduced to zero, but XPO
Liability                                                         • URI case cited
                   did not disclose cash payments or share
                                                                    improper acquisition
                   issuance to satisfy the liability
                                                                    reserves to offset
                                                                    expenses



Large           • XPO has recognized a cumulative income          • The discrepancy makes           YES
Discrepancy       tax benefit of $132m since Jacob’s joined,        XPO’s GAAP EPS less
Between           while paying $182m in actual cash taxes           meaningful. We estimate
Income                                                              the cumulative earnings
Statement And                                                       benefit has been
Cash Tax                                                            $1.55/share
Expense                                                           • The URI case cited improper
                                                                    tax accounting


                • The perpetual preferred stock is convertible
Obscure           at $7/share, making it deeply in‐the‐money.     • Sell‐side analysts have
Diluted           In Q1’16 XPO stopped giving a clear picture       incorrectly modelled the
Share Count       to investors about the sources of potentially     share count, making XPO’s
                  diluted securities – including 10.2m shares       valuation look cheaper than
                  from the preferred stock                          economic reality




Unjust          • XPO uses a non‐standard definition of           • XPO management enriching
Insider           “adjusted cash flow per share” to earn            itself for non‐economic
Enrichment        significant bonus compensation                    value‐ added investing inc.
on              • The calculation ignores any measure of            special bonuses for
Questionab        return on invested capital, which is common       completing deals (part of its
le Metrics        in the transportation/logistics industry          job!). Employees and Unions
                                                                    (Teamsters) already calling
                                                                    out XPO management’s




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   135.        The Spruce Report maintained that XPO presented a “flawed business model,

questionable governance, egregious financial representation, increased regulatory scrutiny, and

loss of confidence in management.” The Spruce Report further stated that the Company failed to

account for the earn out of certain acquisitions, resulting in reported phantom income of $29

million. The Spruce Report also noted that XPO had reported accelerated pension gains which

increased EBITDA and pre-income tax as of January 2018—gains which were “non-operational

and [could] be used to mask underlying weakness in XPO’s core business.”

   136.        The Spruce Report stated that the Company was aggressively increasing

amortization assumptions, had stopped disclosing carrier relationships and other intangibles in

2016 and 2017, and were possibly manipulating tax assumptions, pointing out that XPO had

recognized 132 million income tax benefits since 2011, and paid 182 million in actual cash taxes,

which reflected a “material divergence between XPO’s Income Statement Taxes and Cash Taxes

Paid.”

   137.        The Spruce Report also highlighted that XPO was under fire for labor violations

and worker safety issues, including through multiple lawsuits filed by drivers alleging poor

treatment and misclassification. The Spruce Report noted that, unlike its peers, XPO did not

consider return on capital as a metric for determining and evaluating executive compensation,

   138.        After a detailed analysis of the Company, the Spruce Report concluded that due to

the concerns unveiled from probing into the Company, the future of the company looked bleak,

stating in relevant part that “XPO has extracted no value (as measured by excess cash flow) from

17 acquisitions, while its two recent large deals have saddled it with bad debts, higher pension

liabilities, and moved it toward greater capital intensity businesses. We do not see how XPO can

conceivably trade at a valuation higher than the sum of its acquired parts.”



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     139.      On this news, the price per share of Company stock fell $15.77, over 26% from the

previous trading day, to close at $44.50 per share on December 13, 2018.

     140.      While the Company touted in 2017 that it had $7-8 billion for acquisitions, the

Individual Defendants were not only unable to deliver on that promise, but dramatically shifted

XPO’s business focus away from acquisitions.

     141.      On an analyst call held on February 15, 2019, Defendant Jacobs announced that the

Company would no longer be implementing the M&A Strategy, in contrast to the investing

public’s expectations, stating specifically: “The best M&A target is acquiring our own stock . . . .

That’s where we’re going to deploy the resources for the foreseeable future, not on external

M&A.”20 (Internal quotations removed).

                                      DAMAGES TO XPO

        142.   As a direct and proximate result of the Individual Defendants’ conduct, XPO has

lost and expended, and will lose and expend, many millions of dollars.

        143.   Such expenditures include, but are not limited to, legal fees and payments

associated with the lawsuits against the Company based on the Workplace Misconduct, and

amounts paid to outside lawyers, accountants, and investigators in connection thereto.

        144.   Such expenditures also include, but are not limited to, legal fees and payments

associated with the Securities Class Action filed against the Company, its CEO and its former

CFO, and amounts paid to outside lawyers, accountants, and investigators in connection thereto.

        145.   Such losses include, but are not limited to, excessive compensation and benefits

paid to the Individual Defendants who breached their fiduciary duties to the Company, including




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  https://www.bloomberg.com/news/articles/2019-02-19/xpo-s-billionaire-dealmaker-hits-m-a-brakes-
turns-to-buybacks. Last visited May 3, 2019.

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bonuses tied to the Company’s attainment of certain objectives, and benefits paid to the Individual

Defendants who breached their fiduciary duties to the Company.

        146.    As a direct and proximate result of the Individual Defendants’ conduct, XPO has

also suffered and will continue to suffer a loss of reputation and goodwill, and a “liar’s discount”

that will plague the Company’s stock in the future due to the Company’s and their

misrepresentations and the Individual Defendants’ breaches of fiduciary duties and unjust

enrichment.

                                 DERIVATIVE ALLEGATIONS

        147.    Plaintiff brings this action derivatively and for the benefit of XPO to redress injuries

suffered, and to be suffered, as a result of the Individual Defendants’ breaches of their fiduciary

duties as directors and/or officers of XPO, waste of corporate assets, unjust enrichment, and

violations of Section 14(a) of the Exchange Act, as well as the aiding and abetting thereof.

        148.    XPO is named solely as a nominal party in this action. This is not a collusive action

to confer jurisdiction on this Court that it would not otherwise have.

        149.    Plaintiff is a current shareholder of XPO and has continuously held XPO common

stock at all relevant times. Plaintiff will adequately and fairly represent the interests of XPO in

enforcing and prosecuting its rights, and, to that end, has retained competent counsel, experienced

in derivative litigation, to enforce and prosecute this action.

                             DEMAND FUTILITY ALLEGATIONS

        150.    Plaintiff incorporates by reference and re-alleges each and every allegation stated

above as if fully set forth herein.

        151.    A pre-suit demand on the Board of XPO is futile and, therefore, excused. At the

time of filing of this action, the Board consists of the following eight individuals: Defendants


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Jacobs, Ashe, Jesselson, Kingshott, Papastavrou, and Shaffer (the “Director-Defendants”), and

non-parties Marlene M. Colucci and AnnaMaria DeSalva (together with the Director-Defendants,

the “Directors”). Plaintiff needs only to allege demand futility as to four of the eight Directors who

are on the Board at the time this action is commenced.

       152.    Demand is excused as to all of the Director-Defendants because each one of them

faces, individually and collectively, a substantial likelihood of liability as a result of the scheme

they engaged in knowingly or recklessly to make and/or cause the Company to make false and

misleading statements and omissions of material facts and to cause the Company to engage in the

Workplace Misconduct, which renders them unable to impartially investigate the charges and

decide whether to pursue action against themselves and the other perpetrators of the scheme.

       153.    In complete abdication of their fiduciary duties, the Director-Defendants either

knowingly or recklessly participated in causing the Company to engage in the Workplace

Misconduct and in making and/or causing the Company to make the materially false and

misleading statements alleged herein. The fraudulent scheme to make false statements was, inter

alia, intended to make the Company appear more profitable and attractive to investors. As a result

of the foregoing, the Director-Defendants breached their fiduciary duties, face a substantial

likelihood of liability, are not disinterested, and demand upon them is futile, and thus excused.

       154.    Additional reasons that demand on Defendant Jacobs is futile follow. Defendant

Jacobs has served as the Company’s CEO and Chairman of the Board since September 2011.

Defendant Jacobs is also the managing member of JPE and is a controlling shareholder of the

Company. Thus, as the Company admits, he is not only a non-independent director, but he has

substantial control over the Company (as the 2018 10-K admits). The Company provides

Defendant Jacobs with his principal occupation and he receives excessive compensation as



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described above, including $13,327,471 during the fiscal year ended December 31, 2018.

Defendant Jacobs was ultimately responsible for all of the false and misleading statements and

omissions that were made, including those contained in the foregoing 10-Ks, which he signed and

signed SOX certifications for. As the Company’s highest officer, controlling shareholder, and as

a trusted Company director, he conducted little, if any, oversight of the schemes to engage in the

Workplace Misconduct and to make false and misleading statements, consciously disregarded his

duties to monitor such controls over reporting and engagement in the schemes, and consciously

disregarded his duty to protect corporate assets. Moreover, Defendant Jacobs is a defendant in the

Securities Class Action. For these reasons, too, Defendant Jacobs breached his fiduciary duties,

faces a substantial likelihood of liability, is not independent or disinterested, and thus demand upon

him is futile and, therefore, excused.

       155.    Additional reasons that demand on Defendant Ashe is futile follow. Defendant

Ashe has served as a Company director since March 2016. She also serves as a member of the

Audit Committee and Acquisition Committee. Defendant Ashe receives handsome compensation

as described above. As a Company director and member of the Audit Committee she conducted

little, if any, oversight of the Company’s engagement in the Workplace Misconduct or the scheme

to make false and misleading statements, consciously disregarded her duties to monitor such

controls over reporting and engagement in the schemes, and consciously disregarded her duties to

protect corporate assets. Furthermore, Defendant Ashe signed, and thus personally made the false

and misleading statements in, the 2016 10-K and 2017 10-K. For these reasons, too, Defendant

Ashe breached her fiduciary duties, faces a substantial likelihood of liability, is not independent or

disinterested, and thus demand upon her is futile and, therefore, excused.




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       156.    Additional reasons that demand on Defendant Jesselson is futile follow. Defendant

Jesselson has served as a Company director since September 2011. He also serves as a member of

the Audit Committee, Compensation Committee, and Nominating and Corporate Governance

Committee. Defendant Jesselson receives handsome compensation as described above. As a

Company director and member of the Audit Committee, he conducted little, if any, oversight of

the Company’s engagement in the Workplace Misconduct and the scheme to make false and

misleading statements, consciously disregarded his duties to monitor such controls over reporting

and engagement in the schemes, and consciously disregarded his duties to protect corporate assets.

Defendant Jesselson signed, and thus personally made the false and misleading statements in, all

of the 10-Ks mentioned herein. For these reasons, too, Defendant Jesselson breached his fiduciary

duties, faces a substantial likelihood of liability, is not independent or disinterested, and thus

demand upon him is futile and, therefore, excused.

       157.    Additional reasons that demand on Defendant Kingshott is futile follow. Defendant

Kingshott has served as a Company director since September 2011. He also serves as Chairman

of the Compensation Committee and as a member of the Acquisition Committee. Defendant

Kingshott receives handsome compensation as described above. As a Company director, he

conducted little, if any, oversight of the Company’s engagement in the Workplace Misconduct and

the scheme to make false and misleading statements, consciously disregarded his duties to monitor

such controls over reporting and engagement in the schemes, and consciously disregarded his

duties to protect corporate assets. Furthermore, Defendant Kingshott signed, and thus personally

made the false and misleading statements in, all of the 10-Ks mentioned herein. For these reasons,

too, Defendant Kingshott breached his fiduciary duties, faces a substantial likelihood of liability,

is not independent or disinterested, and thus demand upon him is futile and, therefore, excused.



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       158.    Additional reasons that demand on Defendant Papastavrou is futile follow.

Defendant Papastavrou has served as a Company director since September 2011. He also serves

as a member of the Acquisition Committee, Audit Committee, Compensation Committee, and

Nominating and Corporate Governance Committee. Defendant Papastavrou receives handsome

compensation, as described above. As a Company director and member of the Audit Committee,

he conducted little, if any, oversight of the Company’s engagement in the Workplace Misconduct

and the scheme to make false and misleading statements, consciously disregarded his duties to

monitor such controls over reporting and engagement in the schemes, and consciously disregarded

his duties to protect corporate assets. Furthermore, Defendant Papastavrou signed, and thus

personally made the false and misleading statements in, all of the 10-Ks mentioned herein. For

these reasons, too, Defendant Papastavrou breached his fiduciary duties, faces a substantial

likelihood of liability, is not independent or disinterested, and thus demand upon him is futile and,

therefore, excused.

       159.    Additional reasons that demand on Defendant Shaffer is futile follow. Defendant

Shaffer has served as a Company director since September 2011. He also serves as Chairman of

the Audit Committee. Defendant Shaffer receives handsome compensation, as described above.

As a Company director and Chairman of the Audit Committee, he conducted little, if any, oversight

of the Company’s engagement in the Workplace Misconduct and the scheme to make false and

misleading statements, consciously disregarded his duties to monitor such controls over reporting

and engagement in the schemes, and consciously disregarded his duties to protect corporate assets.

Furthermore, Defendant Shaffer signed, and thus personally made the false and misleading

statements in, all of the10-Ks mentioned herein. For these reasons, too, Defendant Shaffer




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breached his fiduciary duties, faces a substantial likelihood of liability, is not independent or

disinterested, and thus demand upon him is futile and, therefore, excused.

       160.    Additional reasons that demand on the Board is futile follow.

       161.    Demand is excused in this case because the Directors are beholden to and controlled

by JPE and thus, Defendant Jacobs, as managing member of JPE, by virtue of JPE’s controlling

stake over the Company. As the Company admitted in its 2018 10-K, Defendant Jacobs’

shareholdings provide him with significant control over the continued employment of the

remaining Directors. In fact, many of the Directors were appointed to the Board in connection with

Defendant Jacobs’ purchase of control in September 2011.

       162.    Defendants Kingshott, Papastavrou, and Shaffer have ties to Defendant Jacobs’

former company, URI, and were all appointed as directors when Defendant Jacobs purchased

control over XPO in September 2011. For example, Defendant Papastavrou is a current director

who serves on URI’s Board of Directors and has served in that position since 2005. According to

the Spruce Report, Defendant Kingshott was involved at Goldman Sachs MD when it did business

with URI, and Defendant Shaffer sits on the Board of Directors at “Terex Corp,” a company that

was charged with aiding and abetting URI for the fraudulent transactions investigated by the SEC.

Therefore, these Director-Defendants are unable to consider a demand with the requisite level of

disinterestedness.

       163.    Defendants Ashe, Jesselson, Papastavrou, and Shaffer (the “Audit Committee

Defendants”) served as members of the Audit Committee during the Relevant Period. Pursuant to

the Audit Committee Charter, the Audit Committee Defendants bear responsibility for, inter alia,

the effectiveness of the Company’s internal controls, the integrity of its financial statements, and

its compliance with laws and regulations. The Audit Committee Defendants failed to ensure the



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integrity of the Company’s internal controls, as they are charged to do under the Audit Committee

Charter, allowing the Company to engage in improper accounting methods and to issue false and

misleading financial statements with the SEC. Thus, the Audit Committee Defendants breached

their fiduciary duties, are not disinterested, and demand is excused as to them.

       164.    Additionally, the Director-Defendants, as alleged herein, were aware or should

have been aware of the misinformation being spread by the Company and should have ensured

that the Company maintained adequate financial oversight and internal controls over its disclosures

and financial reporting to prevent the misconduct discussed herein. Thus, the Directors breached

their fiduciary duties, face a substantial likelihood of liability, are not disinterested, and demand

upon them is futile, and thus excused.

       165.    In violation of the Code of Conduct, the Director-Defendants conducted little, if

any, oversight of the Company’s internal controls over public reporting and of the Company’s

engagement in the Individual Defendants’ scheme to engage in and/or allow the Workplace

Misconduct and to issue materially false and misleading statements to the public, and facilitate and

disguise the Individual Defendants’ violations of law, including breaches of fiduciary duty, unjust

enrichment, and violations of the Exchange Act. In violation of the Code of Conduct, the Director-

Defendants failed to comply with the law. Thus, the Director-Defendants face a substantial

likelihood of liability and demand is futile as to them.

       166.    XPO has been and will continue to be exposed to significant losses due to the

wrongdoing complained of herein, yet the Director-Defendants have not filed any lawsuits against

themselves or others who were responsible for that wrongful conduct to attempt to recover for

XPO any part of the damages XPO suffered and will continue to suffer thereby. Thus, any demand

upon the Director-Defendants would be futile.



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       167.    The Individual Defendants’ conduct described herein and summarized above could

not have been the product of legitimate business judgment as it was based on bad faith and

intentional, reckless, or disloyal misconduct. Thus, none of the Director-Defendants can claim

exculpation from their violations of duty pursuant to the Company’s charter (to the extent such a

provision exists). As a majority of the Directors face a substantial likelihood of liability, they are

self-interested in the transactions challenged herein and cannot be presumed to be capable of

exercising independent and disinterested judgment about whether to pursue this action on behalf

of the shareholders of the Company. Accordingly, demand is excused as being futile.

       168.    The acts complained of herein constitute violations of fiduciary duties owed by

XPO officers and directors, and these acts are incapable of ratification.

       169.    The Directors may also be protected against personal liability for their acts of

mismanagement and breaches of fiduciary duty alleged herein by directors’ and officers’ liability

insurance if they caused the Company to purchase it for their protection with corporate funds, i.e.,

monies belonging to the stockholders of XPO. If there is a directors’ and officers’ liability

insurance policy covering the Directors, it may contain provisions that eliminate coverage for any

action brought directly by the Company against the Directors, known as, inter alia, the “insured-

versus-insured exclusion.” As a result, if the Directors were to sue themselves or certain of the

officers of XPO, there would be no directors’ and officers’ insurance protection. Accordingly, the

Director-Defendants cannot be expected to bring such a suit. On the other hand, if the suit is

brought derivatively, as this action is brought, such insurance coverage, if such an insurance policy

exists, will provide a basis for the Company to effectuate a recovery. Thus, demand on the

Director-Defendants is futile and, therefore, excused.




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          170.   If there is no directors’ and officers’ liability insurance, then the Director-

Defendants will not cause XPO to sue the Individual Defendants named herein, since, if they did,

they would face a large uninsured individual liability. Accordingly, demand is futile in that event,

as well.

          171.   Thus, for all of the reasons set forth above, all of the Director-Defendants, and, if

not all of them, at least four of the Directors, cannot consider a demand with disinterestedness and

independence. Consequently, a demand upon the Board is excused as futile.

                                           FIRST CLAIM

                         Against Individual Defendants for Violations of
                               Section 14(a) of the Exchange Act

          172.   Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

          173.   The Section 14(a) Exchange Act claims alleged herein are based solely on

negligence. They are not based on any allegation of reckless or knowing conduct by or on behalf

of the Individual Defendants. The Section 14(a) claims alleged herein do not allege and do not

sound in fraud. Plaintiff specifically disclaims any allegations of, reliance upon any allegation of,

or reference to any allegation of fraud, scienter, or recklessness with regard to these nonfraud

claims.

          174.   Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1), provides that “[i]t shall

be unlawful for any person, by use of the mails or by any means or instrumentality of interstate

commerce or of any facility of a national securities exchange or otherwise, in contravention of

such rules and regulations as the [SEC] may prescribe as necessary or appropriate in the public

interest or for the protection of investors, to solicit or to permit the use of his name to solicit any




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proxy or consent or authorization in respect of any security (other than an exempted security)

registered pursuant to section 12 of this title [15 U.S.C. § 78l].”

        175.     Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides that no

proxy statement shall contain “any statement which, at the time and in the light of the

circumstances under which it is made, is false or misleading with respect to any material fact, or

which omits to state any material fact necessary in order to make the statements therein not false

or misleading.” 17 C.F.R. §240.14a-9.

        176.     Under the direction and watch of the Director-Defendants, the 2014, 2015, 2016,

2017 and 2018 Proxy Statements (the “Proxy Statements”) failed to disclose, inter alia: (1) the

Company’s widely promoted M&A Strategy generated nominal returns to XPO; (2) the

Company’s financial statements were prepared with improper accounting methods employed to

disguise the true state of the Company’s financial condition, such as under-reporting bad debts and

aggressive amortization assumptions; and (3) the Company failed to maintain internal controls.

        177.     The Individual Defendants also caused the Proxy Statements to be false and

misleading with regard to executive compensation in that they purported to strongly correlate pay

and performance, in order to “to align the interests of our executive team with the interests of our

stockholders” while failing to disclose that the Company’s share price was being artificially

inflated by the false and misleading statements made by the Individual Defendants as alleged

herein, and therefore any compensation based on the Company’s financial performance was

artificially inflated.

        178.     The Proxy Statements also made references to the Code of Conduct. The Code of

Conduct required the Company and the Individual Defendants to abide by relevant laws and

regulations and make accurate and non-misleading public disclosures. By allowing the Workplace



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Misconduct and engaging in issuing false and misleading statements to the investing public, the

Individual Defendants violated the Code of Conduct. The Proxy Statements failed to disclose these

violations and also failed to disclose that the Code of Conduct’s terms were being violated.

       179.    In the exercise of reasonable care, the Individual Defendants should have known

that by misrepresenting or failing to disclose the foregoing material facts, the statements contained

in the Proxy Statements were materially false and misleading. The misrepresentations and

omissions were material to Plaintiff in voting on the matters set forth for shareholder determination

in the Proxy Statements, including, but not limited to, election of directors, ratification of an

independent auditor, and the approval of executive compensation.

       180.    The false and misleading elements of the Proxy Statements led to the re-election of

Defendants Jacobs, Ashe, Jesselson, Kingshott, DeJoy, Papastavrou, and Shaffer, which allowed

them to continue breaching their fiduciary duties to XPO.

       181.    The Company was damaged as a result of the Individual Defendants’ material

misrepresentations and omissions in the Proxy Statements.

       182.    Plaintiff on behalf of XPO has no adequate remedy at law.

                                           SECOND CLAIM

                Against Individual Defendants for Breach of Fiduciary Duties

       183.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

       184.    Each Individual Defendant owed to the Company the duty to exercise candor, good

faith, and loyalty in the management and administration of XPO’s business and affairs.

       185.    Each of the Individual Defendants violated and breached his or her fiduciary duties

of candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.



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       186.       The Individual Defendants’ conduct set forth herein was due to their intentional or

reckless breach of the fiduciary duties they owed to the Company, as alleged herein. The Individual

Defendants intentionally or recklessly breached or disregarded their fiduciary duties to protect the

rights and interests of XPO.

       187.       In breach of their fiduciary duties, the Individual Defendants knowingly or

recklessly caused the Company to engage in or allow the Workplace Misconduct.

       188.       In breach of their fiduciary duties, the Individual Defendants failed to maintain an

adequate system of oversight, disclosure controls and procedures, and internal controls.

       189.       In further breach of their fiduciary duties owed to XPO, the Individual Defendants

willfully or recklessly made and/or caused the Company to make false and misleading statements

and omissions of material fact that failed to disclose, inter alia, that: (1) the Company’s widely

promoted M&A Strategy generated nominal returns to XPO; (2) the Company’s financial

statements were prepared with improper accounting methods employed to disguise the true state

of the Company’s financial condition, such as under-reporting bad debts and aggressive

amortization assumptions; and (3) the Company failed to maintain internal controls. As a result

of the foregoing, the Company’s public statements were materially false and misleading at all

relevant times.

       190.       The Individual Defendants failed to correct and caused the Company to fail to

rectify any of the wrongs described herein or correct the false and misleading statements and

omissions of material fact referenced herein, rendering them personally liable to the Company for

breaching their fiduciary duties.

       191.       The Individual Defendants had actual or constructive knowledge that the Company

issued materially false and misleading statements, and they failed to correct the Company’s public



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statements. The Individual Defendants had actual knowledge of the misrepresentations and

omissions of material facts set forth herein, or acted with reckless disregard for the truth, in that

they failed to ascertain and to disclose such facts, even though such facts were available to them.

Such material misrepresentations and omissions were committed knowingly or recklessly and for

the purpose and effect of artificially inflating the price of the Company’s securities.

       192.    The Individual Defendants had actual or constructive knowledge that they had

caused the Company to improperly engage in the fraudulent scheme set forth herein and to fail to

maintain adequate internal controls. The Individual Defendants had actual knowledge that the

Company was engaging in the fraudulent scheme set forth herein, and that internal controls were

not adequately maintained, or acted with reckless disregard for the truth, in that they caused the

Company to improperly engage in the fraudulent scheme and to fail to maintain adequate internal

controls, even though such facts were available to them. Such improper conduct was committed

knowingly or recklessly and for the purpose and effect of artificially inflating the price of the

Company’s securities. The Individual Defendants, in good faith, should have taken appropriate

action to correct the schemes alleged herein and to prevent them from continuing to occur.

       193.    These actions were not a good-faith exercise of prudent business judgment to

protect and promote the Company’s corporate interests.

       194.    As a direct and proximate result of the Individual Defendants’ breaches of their

fiduciary obligations, XPO has sustained and continues to sustain significant damages. As a result

of the misconduct alleged herein, the Individual Defendants are liable to the Company.

       195.    Plaintiff on behalf of XPO has no adequate remedy at law.




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                                           THIRD CLAIM

                    Against Individual Defendants for Unjust Enrichment

       196.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

       197.    By their wrongful acts, violations of law, and false and misleading statements and

omissions of material fact that they made and/or caused to be made, the Individual Defendants

were unjustly enriched at the expense of, and to the detriment of, XPO.

       198.    The Individual Defendants either benefitted financially from the improper conduct,

received unjustly lucrative bonuses tied to the false and misleading statements, or received

bonuses, stock options, or similar compensation from XPO that was tied to the performance or

artificially inflated valuation of XPO, or received compensation that was unjust in light of the

Individual Defendants’ bad faith conduct.

       199.    Plaintiff, as a shareholder and a representative of XPO, seeks restitution from the

Individual Defendants and seeks an order from this Court disgorging all profits, benefits, and other

compensation, including any performance-based or valuation-based compensation—obtained by

the Individual Defendants due to their wrongful conduct and breach of their fiduciary duties.

       200.    Plaintiff on behalf of XPO has no adequate remedy at law.

                                           FOURTH CLAIM

                Against Individual Defendants for Waste of Corporate Assets

       201.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

       202.    As a further result of the foregoing, the Company will incur many millions of

dollars of legal liability and/or costs to defend unlawful actions, to engage in internal



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investigations, and to lose financing from investors and business from future customers who no

longer trust the Company and its products.

       203.     As a result of the waste of corporate assets, the Individual Defendants are each

liable to the Company.

       204.     Plaintiff on behalf of XPO has no adequate remedy at law.

                                     PRAYER FOR RELIEF

       FOR THESE REASONS, Plaintiff demands judgment in the Company’s favor against all

Individual Defendants as follows:

                (a)     Declaring that Plaintiff may maintain this action on behalf of XPO, and that

Plaintiff is an adequate representative of the Company;

                (b)     Declaring that the Individual Defendants have breached or aided and

abetted the breach of their fiduciary duties to XPO;

                (c)     Determining and awarding to XPO the damages sustained by it as a result

of the violations set forth above from each of the Individual Defendants, jointly and severally,

together with pre-judgment and post-judgment interest thereon;

                (d)     Directing XPO and the Individual Defendants to take all necessary actions

to reform and improve its corporate governance and internal procedures to comply with applicable

laws and to protect XPO and its shareholders from a repeat of the damaging events described

herein, including, but not limited to, putting forward for shareholder vote the following resolutions

for amendments to the Company’s Bylaws or Articles of Incorporation and the following actions

as may be necessary to ensure proper corporate governance policies:

                      1. a proposal to strengthen the Board’s supervision of operations and develop

              and implement procedures for greater shareholder input into the policies and

              guidelines of the Board;
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                     2. a provision to permit the shareholders of XPO to nominate at least four

            candidates for election to the Board; and

                     3. a proposal to ensure the establishment of effective oversight of compliance

            with applicable laws, rules, and regulations.

               (e)      Awarding XPO restitution from the Individual Defendants, and each of

them;

               (f)     Awarding Plaintiff the costs and disbursements of this action, including

reasonable attorneys’ and experts’ fees, costs, and expenses; and

               (g)      Granting such other and further relief as the Court may deem just and

proper.

                                  JURY TRIAL DEMANDED

Plaintiff hereby demands a trial by jury.


Dated: May 13, 2019                                   Respectfully submitted,

Of Counsel:                                           FARNAN LLP

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